                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page1 1ofof5555


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           14                                 UNITED STATES DISTRICT COURT

           15                                NORTHERN DISTRICT OF CALIFORNIA

           16

           17    IN RE: FACEBOOK, INC. CONSUMER              CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
           18                                                OPPOSITION OF FACEBOOK, INC.,
                                                             GIBSON, DUNN & CRUTCHER LLP, AND
           19    This document relates to:                   ORIN SNYDER TO PLAINTIFFS’ MOTION
                                                             FOR SANCTIONS
           20    ALL ACTIONS

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                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                  CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page2 2ofof5555


            1                                                           TABLE OF CONTENTS
            2    INTRODUCTION ................................................................................................................................ 1
            3    BACKGROUND .................................................................................................................................. 5
            4              I.         Facebook has produced an enormous volume of documents. ....................................... 5
            5              II.        Plaintiffs now seek to recast Facebook’s actions as bad faith and delay. ..................... 8
            6    ARGUMENT ...................................................................................................................................... 11
            7              III.       There Has Been No Sanctionable Conduct Relating to the ADI Documents. ............ 13
            8                         A.         Facebook’s claims of attorney-client privilege and work-product
                                                 protection were not only substantially justified but also upheld in
            9                                    important respects. .......................................................................................... 14
           10                         B.         As Plaintiffs and Judge Corley have acknowledged, Facebook has
                                                 participated in good faith in dispute-resolution processes relating to the
           11                                    ADI documents. .............................................................................................. 16
           12                         C.         Facebook has complied with all ADI orders. .................................................. 20
           13              IV.        There Has Been No Sanctionable Conduct Relating to Named Plaintiff Data. .......... 23
           14                         A.         March–October 2020: Facebook produced named plaintiff data that
                                                 could have been shared with third parties, including in all three
           15                                    categories of “discoverable user data” identified in Discovery Order
                                                 No. 9. ............................................................................................................... 25
           16
                                      B.         June–October 2020: Judge Corley issues Discovery Order No. 9,
           17                                    which identifies three categories of “discoverable user data.” ....................... 26
           18                         C.         November 2020–January 2021: Judge Corley issues Discovery Order
                                                 Nos. 11 and 12, allowing Plaintiffs to conduct discovery into what, if
           19                                    any, additional named plaintiff data covered by Discovery Order No. 9
                                                 is relevant and proportional to their claims and therefore should be
           20                                    produced under Rule 26. ................................................................................. 28
           21                         D.         April–September 2021: The parties go to mediation about various
                                                 discovery disputes, and Plaintiffs continue to seek production of all
           22                                    named plaintiff data in the three categories of discoverable user data
                                                 identified in Discovery Order No. 9. ............................................................... 30
           23
                                      E.         October 2021–Present: Plaintiffs move to compel, resulting in orders
           24                                    requiring the parties to participate in a process before the Special
                                                 Master to determine what, if any, additional named plaintiff data should
           25                                    be produced. .................................................................................................... 30
           26              V.         Sanctions Are Not Appropriate for Conduct Relating to Deposition
                                      Scheduling. .................................................................................................................. 35
           27
                                      A.         Postponing depositions until relevant documents have been produced is
           28                                    good practice, not bad faith. ............................................................................ 35

Gibson, Dunn &
Crutcher LLP                                                                               i
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                                                  CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page3 3ofof5555


            1                         B.         Facebook had legitimate reasons for seeking to depose former named
                                                 plaintiffs. ......................................................................................................... 39
            2
                                      C.         Deposition discovery is proceeding apace. ..................................................... 40
            3
                           VI.        Counsel’s True Statements and Statements of Opinion, Made in the Course of
            4                         Normal Advocacy, Are Not Sanctionable. .................................................................. 41
            5              VII.       Plaintiffs’ Fee Request Is Unreasonable. .................................................................... 44
            6              VIII.      If the Court Has Any Doubts, Gibson Dunn Respectfully Asks the Court to
                                      Hold Plaintiffs’ Motion in Abeyance. ......................................................................... 46
            7
                 CONCLUSION ................................................................................................................................... 47
            8

            9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

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           27

           28

Gibson, Dunn &
Crutcher LLP                                                                              ii
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                                                 CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page4 4ofof5555


            1                                                     TABLE OF AUTHORITIES
            2
                 CASES
            3
                 A.B. v. Pac. Fertility Ctr.,
            4       2019 WL 6605883 (N.D. Cal. Dec. 3, 2019) ..................................................................................43
            5    Adobe Sys.A & S Elecs., Inc.,
                    2016 WL 8222618 (N.D. Cal. June 30, 2016) ................................................................................39
            6
                 Apple Inc. v. Samsung Elecs. Co.,
            7       2012 WL 1511901 (N.D. Cal. Jan. 27, 2012) .................................................................................39
            8    Apple Inc. v. Samsung Elecs. Co.,
                    2012 WL 762240 (N.D. Cal. Mar. 8, 2012) ....................................................................................39
            9
                 Aristocrat Techs. v. Int’l Game Tech.,
           10        2009 WL 3573327 (N.D. Cal. Oct. 30, 2009) ...........................................................................18, 21
           11    AT&T Corp. v. Microsoft Corp.,
                   2003 WL 21212614 (N.D. Cal. Apr. 18, 2003) ..............................................................................17
           12
                 Att’y Gen. v. Facebook, Inc.,
           13        164 N.E.3d 873 (Mass. 2021) .........................................................................................................16
           14    Bird v. Wells Fargo Bank,
                    2017 WL 4123715 (E.D. Cal. Sept. 18, 2017) ................................................................................48
           15
                 Brandt v. Vulcan, Inc.,
           16       30 F.3d 752 (7th Cir. 1994).............................................................................................................15
           17    Choudhuri v. Wells Fargo Bank, N.A.,
                    2017 WL 5598685 (N.D. Cal. Nov. 21, 2017)................................................................................49
           18
                 Clark v. United States,
           19       2011 WL 66181 (D. Haw. Jan. 7, 2011) .........................................................................................15
           20    Claypole v. Cnty. of Monterey,
                    2016 WL 145557 (N.D. Cal. Jan. 12, 2016) ...................................................................................39
           21
                 Colaco v. ASIC Advantage Simplified Pension Plan,
           22       301 F.R.D. 431 (N.D. Cal. 2014) ....................................................................................................17
           23    Commissioner of Rev. v. Comcast,
                   901 N.E.2d 1185 (Mass. 2009) .......................................................................................................16
           24
                 CRS Recovery, Inc. v. Laxton,
           25      2008 WL 2951379 (N.D. Cal. July 25, 2008) .................................................................................25
           26    Dahl v. City of Huntington Beach,
                    84 F.3d 363 (9th Cir. 1996).............................................................................................................47
           27
                 Digital Empire Ltd. v. Compal Elecs. Inc.,
           28       2015 WL 11570938 (S.D. Cal. Sept. 4, 2015) ................................................................................50

Gibson, Dunn &
Crutcher LLP                                                                          iii
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                                         CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page5 5ofof5555


            1    Dolby Labs. Licensing Corp. v. Adobe Inc.,
                    402 F. Supp. 3d 855 (N.D. Cal. 2019) ............................................................................................18
            2
                 Dong Ah Tire & Rubber Co. v. Glasforms, Inc.,
            3       2009 WL 3617786 (N.D. Cal. Oct. 29, 2009) .................................................................................49
            4    Eberle v. City of Anaheim,
                    901 F.2d 814 (9th Cir. 1990)...........................................................................................................13
            5
                 FlowRider Surf, Ltd. v. Pac. Surf Designs, Inc.,
            6       2020 WL 907058 (S.D. Cal. Feb. 25, 2020) ...................................................................................14
            7    Glasser v. Blixseth,
                    649 F. App’x 506 (9th Cir. 2016) ...................................................................................................47
            8
                 Goodyear Tire & Rubber Co. v. Haeger,
            9       137 S. Ct. 1178 (2017) ....................................................................................................................48
           10    In re Grand Jury,
                     23 F.4th 1088 (9th Cir. 2022), petition for cert. filed
           11        (U.S. Apr. 6, 2022) (No. 21M105)..................................................................................................24
           12    In re Grand Jury Subpoena,
                     357 F.3d 900 (9th Cir. 2004)...........................................................................................................16
           13
                 Hensley v. Eckhart,
           14       461 U.S. 424 (1983) ........................................................................................................................49
           15    I.E.I. Co. v. Advance Cultural Educ.,
                     2011 WL 1335407 (N.D. Cal. Apr. 7, 2011) ..................................................................................49
           16
                 Lasar v. Ford Motor Co.,
           17       399 F.3d 1101 (9th Cir. 2005).........................................................................................................13
           18    Leon v. IDX Sys. Corp.,
                    464 F.3d 951 (9th Cir. 2006)...........................................................................................................48
           19
                 Luxul Tech. Inc. v. NectarLux, LLC,
           20       2016 WL 3345464 (N.D. Cal. June 16, 2016) ................................................................................44
           21    Mas v. Cumulus Media Inc.,
                   2010 WL 4916402 (N.D. Cal. Nov. 22, 2010)................................................................................39
           22
                 McConnell v. PacifiCorp Inc.,
           23      2008 WL 4279682 (N.D. Cal. Sept. 12, 2008) ...............................................................................39
           24    Mercy v. Suffolk Cnty.,
                    748 F.2d 52 (2d Cir. 1984) ..............................................................................................................15
           25
                 Moore v. Stepp,
           26      2014 WL 116271 (N.D. Cal. Jan. 13, 2014) ...................................................................................27
           27    Mount Hope Church v. Bash Back!,
                   705 F.3d 418 (9th Cir. 2012).....................................................................................................44, 45
           28

Gibson, Dunn &                                                                         iv
Crutcher LLP
                         OPPOSITION OF FACEBOOK, INC., GIBSON, DUNN & CRUTCHER LLP, AND ORIN SNYDER TO
                                  PLAINTIFFS’ MOTION FOR SANCTIONS – CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page6 6ofof5555


            1    Operating Eng’rs Pension Tr. v. A-C Co.,
                    859 F.2d 1336 (9th Cir. 1988)...................................................................................................13, 44
            2
                 Orgler Homes, Inc. v. Chi. Reg’l Council of Carpenters,
            3       2008 WL 5082979 (N.D. Ill. Nov. 24, 2008),.................................................................................49
            4    Otis v. Demarasse,
                     399 F. Supp. 3d 759 (E.D. Wis. 2019) ............................................................................................47
            5
                 Phillips v. C.R. Bard, Inc.,
            6       290 F.R.D. 615 (D. Nev. 2013) .......................................................................................................18
            7    Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress,
                    2019 WL 1589974 (N.D. Cal. Apr. 11, 2019) ................................................................................39
            8
                 Primus Auto. Fin. Servs., Inc. v. Batarse,
            9       115 F.3d 644 (9th Cir. 1997).................................................................................................3, 17, 47
           10    Procongps, Inc. v. Skypatrol, LLC,
                    2013 WL 11261327 (N.D. Cal. May 22, 2013) ..............................................................................40
           11
                 Quiroz v. Horel,
           12       2014 WL 572381 (N.D. Cal. Feb. 11, 2014) ..................................................................................18
           13    Reygo Pac. Corp. v. Johnston Pump Co.,
                    680 F.2d 647 (9th Cir. 1982).....................................................................................................13, 17
           14
                 Rooney v. Sierra Pac. Windows,
           15       2011 WL 2149097 (N.D. Cal. June 1, 2011) ..................................................................................48
           16    Sneller v. City of Bainbridge Island,
                    606 F.3d 636 (9th Cir. 2010)...........................................................................................................49
           17
                 Sorensen v. Nat’l R.R. Passenger Corp.,
           18       2017 WL 6520629 (C.D. Cal. Nov. 30, 2017) ................................................................................46
           19    In re Subpoena Issued to Cisco Sys., Inc.,
                     2010 WL 3155895 (N.D. Cal. Aug. 9, 2010)..................................................................................39
           20
                 Sweet People Apparel, Inc. v. Saza Jeans, Inc.,
           21       2016 WL 6053958 (C.D. Cal. May 25, 2016) ................................................................................49
           22    In re TFT-LCD (Flat Panel) Antitrust Litig.,
                     2012 WL 13093328 (N.D. Cal. Oct. 19, 2012) ...............................................................................39
           23
                 TransUnion LLC v. Ramirez,
           24       141 S. Ct. 2190 (2021) ....................................................................................................................43
           25    U.S. Dep’t of Justice v. Reporters Comm. for Freedom of the Press,
                    489 U.S. 749 (1989) ........................................................................................................................43
           26
                 United States v. Corinthian Colls.,
           27       652 F. App’x 503 (9th Cir. 2016) ...................................................................................................47
           28    United States v. Figueroa-Arenas,
                    292 F.3d 276 (1st Cir. 2002) ...........................................................................................................47
Gibson, Dunn &                                                               v
Crutcher LLP
                         OPPOSITION OF FACEBOOK, INC., GIBSON, DUNN & CRUTCHER LLP, AND ORIN SNYDER TO
                                  PLAINTIFFS’ MOTION FOR SANCTIONS – CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page7 7ofof5555


            1    United States v. Richey,
                    632 F.3d 559 (9th Cir. 2011)...........................................................................................................24
            2
                 Van Gerwen v. Guarantee Mut. Life Co.,
            3       214 F.3d 1041 (9th Cir. 2000).........................................................................................................48
            4    Vogel v. Harbor Plaza Ctr., LLC,
                    893 F.3d 1152 (9th Cir. 2018).........................................................................................................48
            5
                 Matter of Yagman,
            6       796 F.2d 1165 (9th Cir. 1986)...................................................................................................14, 15
            7    OTHER AUTHORITIES
            8    LexisNexis Discovery Services, Fact Sheet: How Many Pages in a Gigabyte? at 1,
                    https://tinyurl.com/2p9bms6w (last visited April 10, 2022) .............................................................9
            9
                 Regan Hunt Crotty, Pre-Certification Discovery of Absent Class Members, Law Journal Newsletters
           10       (Jan. 2006), available at https://tinyurl.com/yncpbje3 ....................................................................42
           11    What Is a Petabyte?, Teradata, https://www.teradata.com/ Glossary/What-is-a-Petabyte (last visited
                   April 1, 2022) ..................................................................................................................................10
           12
                 RULES
           13
                 Fed. R. Civ. P. 11 ..................................................................................................................................13
           14
                 TREATISES
           15
                 Model Rules of Prof’l Conduct R. 3.3 (2020).......................................................................................44
           16
                 Model Rules of Prof’l Conduct R. 3.3 cmt. 2 (2020)............................................................................44
           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &                                                                            vi
Crutcher LLP
                          OPPOSITION OF FACEBOOK, INC., GIBSON, DUNN & CRUTCHER LLP, AND ORIN SNYDER TO
                                   PLAINTIFFS’ MOTION FOR SANCTIONS – CASE NO. 3:18-MD-02843-VC
                     Case
                      Case3:18-md-02843-VC
                            3:18-md-02843-VC Document
                                              Document1052-1
                                                       911 Filed
                                                             Filed04/11/22
                                                                   09/15/22 Page
                                                                             Page8 8ofof5555


            1                                                INTRODUCTION
            2            When the Court invited Plaintiffs to file a motion for sanctions, it had before it a false and
            3    misleading account of the discovery record in this case, which Plaintiffs repeat in their motion.
            4    Plaintiffs’ motion is based on accusations of disobeying orders and making frivolous legal arguments,
            5    and a mechanical repetition of buzzwords like “foot-dragging” and “stonewalling,” none of which is
            6    supported by the record. In fact, the record shows that Facebook has complied with all orders and
            7    participated in good faith in dispute-resolution processes that were agreed upon by the parties and
            8    ordered by this Court. While these processes have taken longer than anyone expected, Plaintiffs
            9    ignore the unreasonable and incessant demands they made throughout leading to numerous disputes
           10    and now attempt to create the false impression that they prevailed on all of these disputes through
           11    motion practice by obtaining orders requiring Facebook to produce documents that never came. As
           12    explained below, Plaintiffs’ narrative is incomplete and untrue. Plaintiffs’ request for sanctions on
           13    this record is an invitation to error, and this Court should reject it in its entirety.
           14            Plaintiffs seek sanctions on four grounds, none of which has any merit. First, Plaintiffs seek
           15    sanctions for conduct relating to the App Developer Investigation, or ADI. While the parties spent a
           16    significant amount of time litigating and engaging in other discovery processes regarding ADI-related
           17    documents, the story Plaintiffs tell on ADI is simply false. As an initial matter, Plaintiffs say (at 24)
           18    that “[a]s of February 3, Facebook had produced a total of 50 ADI documents.” Not true. By that
           19    date, Facebook had produced 13,908 documents (30,617 pages), and produced an additional 405
           20    documents (8,735 pages) the very next day. Stein Decl. ¶ 11(b), (k). Plaintiffs also claim (at 18) that
           21    Facebook “did not obey [the] directive” in Judge Corley’s September 2021 order to “work with the
           22    Special Master regarding production of additional” ADI materials. Again, not true. Facebook has
           23    not only completed its production of documents pursuant to the Special Master’s ADI-related orders,
           24    it has affirmatively reached out to Plaintiffs about additional steps not required by those orders and a
           25    request to seek amendment of them, which the Court addressed during our last case management
           26    conference. And there is no basis to sanction Facebook for arguing that ADI-related documents are
           27    protected by the work-product doctrine and attorney-client privilege, positions that have prevailed in
           28    another jurisdiction and succeeded in narrowing the scope of production here.

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                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                   CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page9 9ofof5555


            1           Second, Plaintiffs seek sanctions for conduct relating to named plaintiff data, and again base
            2    their arguments on false characterizations of the record. As an initial matter, Plaintiffs misrepresent
            3    Facebook’s productions to date, as they have throughout the discovery process to minimize the
            4    volume and type of named plaintiff data that has already been produced. Facebook has produced
            5    nearly one million pages of named plaintiff data, including all three types of data that Judge Corley
            6    ruled are discoverable. Stein Decl. ¶ 4(h). Plaintiffs also falsely assert (at 32) that Facebook
            7    “disobeyed Judge Corley’s order for more than a year.” But the “order” Plaintiffs are referring to did
            8    not direct Facebook to produce additional named plaintiff data. It defined the scope of discoverable
            9    data and was followed by two more orders issued by Judge Corley identifying issues relevant to
           10    determining whether additional named plaintiff data should be produced. Judge Corley’s latest order
           11    on this subject, dated January 12, 2022, confirms this in explaining that the ongoing proceedings
           12    before the Special Master are meant “to determine what, if any, data from [Facebook] systems should
           13    be produced consistent with [Rule 26].” Dkt. 807 at 4 (emphasis added). In that process, which
           14    began in late November 2021, Facebook has timely and fully complied with 11 orders and produced
           15    four witnesses who testified for more than ten hours during three hearings. Stein Decl. ¶ 11(g).
           16           Third, Plaintiffs seek sanctions based on Facebook postponing named plaintiff depositions
           17    and seeking to depose former named plaintiffs. There is nothing sanctionable about postponing
           18    depositions where, as here, discovery relevant to those depositions had not been provided, or
           19    requesting to depose former named plaintiffs. Both are customary and reasonable practices. In any
           20    event, Facebook has now deposed six of the eight named plaintiffs, and the last two are scheduled for
           21    April 15 and 28, even though Plaintiffs still have not fully complied with two orders issued by the
           22    Special Master in February compelling production of documents.
           23           Finally, Plaintiffs’ request for sanctions against Mr. Snyder is a dangerous attempt to make
           24    advocacy a basis for imposing sanctions. According to Plaintiffs, Mr. Snyder presented a “false
           25    narrative” about Facebook’s intention to comply with its discovery obligations and about who was to
           26    blame for discovery delays. Plaintiffs apparently target Mr. Snyder because, while they say (at 3) “a
           27    number of Gibson Dunn attorneys played roles in the misconduct,” Mr. Snyder is “Facebook’s lead
           28    lawyer.” But there is no imputed liability for sanctions. Sanctions, which “may have a severe effect

Gibson, Dunn &
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                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page1010ofof5555


            1    on the individual attorney sanctioned,” must be “based solely on [the attorney’s] own improper
            2    conduct without considering the conduct of the parties or any other attorney.” Primus Auto. Fin.
            3    Servs., Inc. v. Batarse, 115 F.3d 644, 650 (9th Cir. 1997) (reversing award of sanctions) (emphasis
            4    added) (cleaned up); see also id. (recognizing that a court must “assess an attorney’s individual
            5    conduct”). The so-called “false narrative” reflects Mr. Snyder’s truly held beliefs, then and now, and
            6    his zealous advocacy based on them. Mr. Snyder stands behind his statement in March 2020 that
            7    Facebook intended to comply with its discovery obligations. Snyder Decl. ¶ 5. Despite a global
            8    pandemic that upended personal and professional lives in the two years since, Facebook delivered on
            9    that commitment. And Mr. Snyder’s view that Plaintiffs share the blame for discovery disputes and
           10    delays is supported by the record. His advocacy on these points is not “false” simply because
           11    Plaintiffs believe their own conduct was justified. Mr. Snyder has never once been sanctioned in
           12    more than 35 years of practicing law, and it would be unprecedented and unfair to do so here.
           13           Plaintiffs’ charge of a false narrative is also deeply hypocritical, given that they support their
           14    request for sanctions with false and misleading accounts of the record in this case. Indeed, the false
           15    narrative conjured up by Plaintiffs permeates every aspect of their motion. The record shows that
           16    Facebook has complied with all orders, made meritorious legal arguments, and participated in good
           17    faith in dispute-resolution processes, which explains why neither Plaintiffs nor any of the discovery
           18    neutrals have suggested, let alone accused anyone of, sanctionable conduct.
           19           Five months ago, in the heart of the period for which Plaintiffs seek sanctions, Special Master
           20    Garrie reviewed a sample of documents from Facebook’s review set and approvingly noted that
           21    “there do not appear to be deficiencies in Facebook’s production to date,” and found that Facebook
           22    was “on pace to meet the substantial completion deadline.” Dkt. 746 at 3 (emphasis added). Three
           23    months ago, during a hearing on appeals by Facebook involving three of the four issues on which
           24    Plaintiffs seek sanctions, Judge Corley rejected Plaintiffs’ assertion that Facebook’s motion practice
           25    and appeals were somehow improper, observing that they have resulted in Special Master Garrie
           26    narrowing his orders and that “[Facebook hasn’t] appealed every order [or] every aspect of every
           27    order,” “[s]o I don’t think you can make an argument that there was anything bad faith about that at
           28    all. . . . I couldn’t let that stand uncorrected. I don’t think that’s fair.” Ex. 32 at 54:11–23 (emphasis

Gibson, Dunn &
Crutcher LLP                                                         3
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page1111ofof5555


            1    added). And just last month, in a hearing on named plaintiff data, Special Master Garrie said he
            2    wanted “to officially on the record recognize and thank Facebook for accommodating an accelerated
            3    timeline for a very complex set of problems” and providing “very helpful” materials. Ex. 42 at 6:21–
            4    7:11; see also, e.g., Dkt. 717 at 4:20–5:7 (Judge Andler, at a July 2021 status conference, describing
            5    counsel as a “dedicated” and “tremendously hardworking group of attorneys”). These are not the
            6    descriptions of a litigant or counsel who has acted in bad faith.
            7            Discovery in this case has not been easy, and has involved numerous disputes between the
            8    parties on important and often technically complex issues that have taken time to work through. But
            9    there is no support in the record for Plaintiffs’ contention that it is due to sanctionable conduct by
           10    Facebook, Gibson Dunn, or Mr. Snyder, and Plaintiffs have never raised sanctions with Judge Corley
           11    or the discovery neutrals, none of whom has ever suggested that Facebook or Gibson Dunn engaged
           12    in sanctionable conduct. Plaintiffs’ change in position likely reflects their view that, given the time it
           13    took to work through the parties’ discovery disputes, they needed more time for discovery. This led
           14    Plaintiffs to present a narrative to the Court before the February 10, 2022 CMC in anticipation of
           15    requesting more time, which the Court has now granted. But Plaintiffs went too far, and rather than
           16    admit it, they are asking this Court to grant a sanctions motion that the record does not support. The
           17    Gibson Dunn lawyers who have appeared on behalf of Facebook in this case have a collective 150
           18    years of experience practicing law and none has ever been sanctioned. Stein Decl. ¶ 6.
           19            With the parties now close to completing discovery and working through agreed-upon and
           20    court-ordered processes to resolve issues addressed in Plaintiffs’ motion, Facebook, Gibson Dunn,
           21    and Mr. Snyder ask that the Court deny Plaintiffs’ motion in full, or, in the alternative, hold the
           22    motion in abeyance pending the completion of discovery, so the Court can see that this is not a case
           23    calling for the rare and exceptional remedy of sanctions.1
           24

           25

           26

           27     1
                      During the February 10, 2022 case management conference, the Court advised Plaintiffs that their
           28         motion was not subject to the usual 15-page limit, but did not expressly address the page limit for
                      Facebook’s response. Facebook has kept its response to the same length as Plaintiffs’ motion.
Gibson, Dunn &
Crutcher LLP                                                         4
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page1212ofof5555


            1                                                BACKGROUND
            2           Plaintiffs initially filed a 424-page consolidated complaint asserting 21 “prioritized” and 28
            3    “non-prioritized” claims. Dkt. 257. Plaintiffs then filed a 366-page amended consolidated complaint.
            4    Dkt. 491. As this Court observed in its ruling on Facebook’s motion to dismiss the amended
            5    consolidated complaint, Plaintiffs’ allegations seemingly spanned “anything Facebook has ever been
            6    reported to have done wrong,” and made it “nearly impossible for Facebook to meaningfully respond
            7    to all of them, much less for the Court to effectively address them.” Dkt. 298 at 5–6. The Court
            8    allowed the case to proceed on four theories, all having to do with data that is shared with or made
            9    accessible to third parties, and stayed all others. Dkt. 515 at 1, 6–10.
           10           Since then, the parties, Judge Corley, and the discovery neutrals appointed by this Court have
           11    been engaged in processes to move discovery forward consistent with the Court’s ruling. In MDL
           12    involving complex technical issues and parties with very different views on discovery, it is not
           13    surprising that the parties have disagreed on a number of important issues. But Facebook has
           14    produced an enormous volume of documents and always raised arguments and engaged in these
           15    discovery processes in good faith—and in many cases, those arguments have been successful. The
           16    picture of recalcitrance painted by Plaintiffs is simply not true.
           17

           18           To date, Facebook has reviewed approximately 24 million pages of documents and produced

           19    nearly 3 million pages of documents, as well as 80 gigabytes (GB) of structured data. Stein Decl.

           20    ¶ 2(a)–(b). This was no easy task. It was the result of dedicated work by nearly 80 Gibson Dunn

           21    attorneys (collectively devoting more than 17,000 hours) and 170 contract attorneys (collectively

           22    devoting more than 100,000 hours). Id. ¶ 2(e). This investment of resources by Facebook and

           23    Gibson Dunn underscores their commitment to meeting their discovery obligations.

           24           In April and July 2020, Facebook produced approximately 302,562 pages of documents that it

           25    had produced to regulators that investigated Cambridge Analytica. Stein Decl. ¶ 10(b). Plaintiffs

           26    said these documents would “very significantly, if not entirely, overlap[] with this case,” Dkt. 391 at

           27    8:23–9:4, and the Court agreed, predicting that documents provided to the FTC “would cover the vast

           28    majority of the documents Plaintiffs would want in this litigation.” Id. at 4:14–15.

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                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                              CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page1313ofof5555


            1            Between March and October 2020, Facebook also produced nearly one million pages of
            2    named plaintiff data. Stein Decl. ¶ 10(b). These productions include data in all three categories of
            3    “discoverable user data” identified by Judge Corley in her order dated October 29, 2020:2
            4            (1)    On-platform activity: Facebook has produced on-platform activity including, among
            5    other things, profile data, user-generated content (e.g., posts, videos, photos, comments, stories),
            6    message content, friends, location check-ins, language choices, clicks, Groups, Events, usage data,
            7    device data, networks and connections, users’ activity levels, advertiser interactions, page interactions
            8    (user pages, pages a user liked or recommended, pages a user follows, pages a user has unfollowed),
            9    IP addresses, user choices to “see less” or “see first” other users in News Feed, last location, people a
           10    user blocked on Messenger, notifications, time zone, email address verification, and various other
           11    notifications and interactions. Ex. 41 at 3.
           12            (2)    Off-platform activity: Facebook has produced off-platform activity including, among
           13    other things, users’ interactions with third-party apps and websites that integrate Facebook business
           14    tools and provide information about users viewing content, searching for an item, adding an item to a
           15    shopping cart, or making a purchase. Id. Business tools include Facebook Pixel, Facebook SDK,
           16    Conversions API, Offline Conversions, and the App Events API. Facebook also receives impression
           17    data through Facebook Social Plugins (e.g., Like and Share buttons). Id. at 4.
           18            (3)    Inferred data: Facebook has produced data that is derived from on or off-platform
           19    activity including, among other things, ads interests; music recommendations based on genres of
           20    music a user has interacted with on Facebook; “your topics,” which is a collection of topics
           21    determined by a user’s activity on Facebook that is used to create recommendations for users in
           22    different areas of Facebook such as News Feed, News, and Watch; primary location; primary public
           23    location; friend peer group; time zone; and language preferences. Id.
           24            Between April and October 2020, Facebook produced 30,617 pages of non-privileged
           25     2
                      See, e.g., Stein Decl. ¶ 12(b) (FB-CA-MDL-00379097–FB-CA-MDL-00386689 (Jason Ariciu,
           26         produced Apr. 7, 2020); FB-CA-MDL-00378871–FB-CA-MDL-00379096 (Steven Akins,
                      produced Apr. 7, 2020); FB-CA-MDL-00405251–FB-CA-MDL-00417392 (Terry Fischer,
           27         produced May 4, 2020). And Facebook later made a supplemental production of additional data
                      associated with two of the Named Plaintiffs. See id. (FB-CA-MDL-02097000–FB-CA-MDL-
           28         02112805 (Bridgett Burk, produced Oct. 22, 2021), FB-CA-MDL-02090574–FB-CA-MDL-
                      02096999 (Steven Akins, produced Oct. 22, 2021)).
Gibson, Dunn &
Crutcher LLP                                                        6
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page1414ofof5555


            1    documents (roughly 13,900 documents) related to ADI. Stein Decl. ¶ 11(b), (k). ADI was an
            2    investigation, conducted by Gibson Dunn, to review apps and app developers that were active on
            3    Facebook before Facebook transitioned away from a form of data sharing with third parties called
            4    “friend sharing.” ADI’s goal was to identify and assess any legal risks. Gibson Dunn, with
            5    Facebook’s in-house counsel and two forensic consulting firms, addressed millions of apps and app
            6    developers. As a result, Facebook and Gibson Dunn believed (and continue to believe) that many of
            7    ADI-related documents are protected by the work-product doctrine and attorney-client privilege, as
            8    the Massachusetts Supreme Judicial Court has held. See infra at 15–17.
            9           With respect to ESI from the files of Facebook employees, the parties met and conferred at
           10    least 30 times, for more than 50 hours, to identify custodians and search terms. Dkt. 469 at 6–7.
           11    With the assistance of Judge Corley, the parties agreed on 81 custodians by May 2020. Dkt. 436 at 1.
           12    Plaintiffs initially sought strings that would have required Facebook to review nearly 100 million
           13    pages of documents. See Dkt. 495 at 8; Dkt. 599 at 6. After six months of negotiations, with
           14    assistance from the discovery neutrals, the parties agreed on strings resulting in roughly 24 million
           15    pages of documents for review. Dkt. 517 at 4; Dkt. 599 at 6; Dkt. 650 at 7; Dkt. 654 at 2–3; Stein
           16    Decl. ¶ 10(c). The review yielded a low responsiveness rate—on average, less than 5% were
           17    responsive and non-privileged. Stein Decl. ¶ 10(e). In October 2021, after Plaintiffs challenged the
           18    responsiveness rate, Special Master Garrie conducted an in camera review of a random sample of
           19    documents remaining to be reviewed and found that “there do not appear to be deficiencies in
           20    Facebook’s production to date.” Dkt. 746 at 3 (emphasis added).
           21           In December 2021, after Plaintiffs demanded production of nearly 200 petabytes of data from
           22    tables associated with “API calls” made by third-party apps even though API call logs do not reflect
           23    what, if any, data was actually returned in response to the call, Facebook offered to produce an 80 GB
           24    table (“Method Table”) summarizing the API calls. Plaintiffs refused, Facebook successfully moved
           25    for a protective order (infra at 10), and then produced the Method Table. Stein Decl. ¶ 10.
           26

           27

           28

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                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                              CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page1515ofof5555


            1

            2             Plaintiffs open their brief with a chart (at 1) designed to minimize the extensive discovery that

            3    has occurred in this case to date. The volume of Facebook’s productions vastly exceeds what is

            4    depicted in that chart, which is misleading in several respects:

            5            It ignores the difference between a 1-page “junk” file and a 212-page technical report by listing
                          the number of documents produced rather than the number of pages produced.
            6
                         It ignores that presentations and spreadsheets were produced as native files, which would be
            7             counted as a single document and page, even though Facebook would have had to review every
                          single page before production. Stein Decl. ¶ 10(f).
            8
                         It discounts the significance of the production of named plaintiff data by saying it was “already
            9             available to Plaintiffs.”
           10            It ignores 80 GB of API call-log data, equivalent to 8 million pages of printed email.3
           11            It excludes more than 360,000 pages of ADI-related documents that were produced on March
                          3, 2022, by applying an arbitrary cut-off date of February 2, 2022. Stein Decl. ¶ 11(k).
           12
                 A fair and accurate depiction of Facebook’s productions (Stein Decl. ¶ 10(c)) tells a very different
           13
                 story:
           14

           15

           16

           17

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           26             Plaintiffs also attempt to create the false impression that Facebook and Gibson Dunn have

           27
                  3
           28         LexisNexis Discovery Services, Fact Sheet: How Many Pages in a Gigabyte?, at 1,
                      https://tinyurl.com/2p9bms6w (last visited April 10, 2022).
Gibson, Dunn &
Crutcher LLP                                                         8
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page1616ofof5555


            1    disobeyed orders and made frivolous legal arguments by misrepresenting the parties’ motion practice
            2    in the table (at 7–9) purporting to “reflect[] the status of production relating to many key disputes.”
            3    The table, which is a lightly modified version of what Plaintiffs submitted to the Court before the
            4    February 3, 2022 case management conference (Dkt. 829 at 3–4), selectively omits motions that
            5    Facebook won and misrepresents others as victories for Plaintiffs or as directing Facebook to produce
            6    documents.
            7             Plaintiffs omit the following motions on which Facebook prevailed, for example:
            8            In October 2021, the Special Master denied Plaintiffs’ motion to compel Facebook to use
                          Technology Assisted Review to review documents because he found that “there do not
            9             appear to be deficiencies in Facebook’s production to date.” Dkt. 746 at 3 (emphasis added).
           10
                         In November 2021, the Special Master granted Facebook’s motion for a protective order
           11             denying Plaintiffs’ demand for production of two tables with 200 petabytes of data. Ex. 23 at
                          2.
           12
                         In early February 2022, the Special Master granted two motions to compel Plaintiffs’ discovery
           13             responses. Dkts. 834, 845. 
           14
                         In March 2022, the Special Master denied in full Plaintiffs’ motion to compel Facebook to
           15             produce documents related to an independent assessment conducted under Facebook’s 2020
                          consent decree with the FTC. Dkt. 886.
           16
                         Between December 17, 2021 and January 31, 2022, the Special Master granted four motions
           17             brought by Facebook asking him to reconsider portions of his orders. These motions
                          significantly narrowed the information Facebook was required to produce and, in one case,
           18             yielded a “good cause” standard for Plaintiffs to depose certain Facebook witnesses.
           19
                         Throughout the process, the Special Master has also granted four motions for reconsideration
           20             brought by Facebook, resulting in orders that were meaningfully narrowed.

           21
                          For motions Plaintiffs chose to include in the chart, they claim many as “victories” (at 7–9)
           22
                 that are mixed at best and often significantly narrow the relief requested by Plaintiffs. And by
           23
                 including a column called “Number of Docs Produced In Response as of” 2/10/22 and 3/10/22,
           24
                 Plaintiffs falsely imply that certain orders required Facebook to produce documents and that
           25
                 Facebook violated those orders. The chart below explains the actual motion practice and result.4
           26
                  4
           27         Two motions in Plaintiffs’ chart they claim as “granted” are not included. No. 9 found that
                      Plaintiffs had good cause to depose two Facebook witnesses deposed in related matters; and No.
           28         11 ordered Facebook to produce documents related to a discrete topic (interactions, if any,
                      between Facebook and Cambridge Analytica in 2016 relating to the Trump campaign).
Gibson, Dunn &
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                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page1717ofof5555


            1
                  No.            Motion                           Actual Motion Practice and Result
            2
                  1      Production of Mark           Order did not require production of documents, so chart’s
            3            Zuckerberg’s notebooks        notation of “0” documents produced is misleading.
            4                                         Also, the Special Master did not grant the relief Plaintiffs
                                                       sought. Order was for Facebook to search for (not produce)
            5                                          the notebooks, and submit any that were found for relevance
                                                       review. Dkt. 745 at 5. Upon a reasonable search, no
            6                                          notebooks were located. Ex. 37.

            7     3      Addition of Mark             Order did not require production of any documents by 2/10/22,
                         Zuckerberg and Sheryl         and Facebook has produced all documents required by
            8            Sandberg as document          3/10/22.
                         custodians                   Also, Special Master did not grant relief Plaintiffs sought, and
            9                                          instead accepted Facebook’s proposal for more targeted
                                                       searches to avoid delaying substantial completion. Currently,
           10                                          the parties are working with the Special Master to negotiate
                                                       search terms. Stein Decl. ¶ 14(b). Plaintiffs’ initial proposal
           11                                          hit on 770,000 documents, so the Special Master ordered
                                                       Plaintiffs to identify their top ten search strings. Id. Plaintiffs’
           12                                          amended search terms hit on 410,000 documents. Id.
           13     4      Identification of            Order did not require production of documents, so chart’s
                         companies (“Business          notation of “0” documents produced is misleading.
           14            Partners”) with which     
                         Facebook agreed to
           15            exchange user
                         information
           16
                  6      Production of Named          Order did not require production of documents, so chart’s
           17            Plaintiffs’ Data              notation of “0” documents produced is misleading. As Judge
                                                       Corley’s most recent order makes clear, the parties are
           18                                          working with the Special Master to determine “what, if any”
                                                       additional named plaintiff data should be produced. Dkt. 807
           19                                          at 4 (emphasis added).
           20     7      Implementation of Judge      Chart acknowledges that Facebook had produced 27,617 ADI-
                         Corley’s Order on             related documents as of March 10, but statement below that
           21            Production of ADI-            “Facebook had produced only 445 documents responsive to
                         Related Documents             the Special Master’s orders by February 10, 2022,” reflects an
           22                                          arbitrary cutoff.
           23     11     Production of “Facebook      Facebook agreed to produce the memo and any prior versions
                         Secret Sauce” Memo            and denied Plaintiffs’ demand that Facebook use search terms
           24                                          to locate documents related to the memo. Stein Decl. ¶ 14(c).
                                                       Special Master instead ordered Facebook to make a “good
           25                                          faith effort” to identify custodians involved with the memo
                                                       and conduct a targeted search.
           26
                                                      Facebook has complied with that order and has made
           27                                          productions pursuant to that order in February and April 2022.

           28

Gibson, Dunn &
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                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page1818ofof5555


            1
                  No.               Motion                            Actual Motion Practice and Result
            2
                  15      Production of Documents         Facebook entirely prevailed on the one part of this motion, and
            3             Facebook Designated as           substantially prevailed on the other.
                          Privileged
            4                                             Part 1. Plaintiffs moved to compel Facebook to remove trade
                                                           secret redactions (primarily from source code), and Facebook
            5                                              proposed inspection. Special Master agreed with Facebook.
                                                           Dkt. 872. Plaintiffs nevertheless characterize this motion as
            6                                              “uph[olding]” Plaintiffs’ challenge in a recent CMC
                                                           statement. Dkt. 882 at 8.
            7                                             Part 2. Plaintiffs challenged Facebook’s assertion of privilege
                                                           over 159 emails. Special Master upheld all but one privilege
            8                                              assertion (which applied to four versions of the same email).
            9     16      Production of Protiviti         After Plaintiffs filed their sanctions motion, Special Master
                          Documents                        denied this motion in full.
           10

           11             In short, Plaintiffs’ motion distorts the discovery record. An accurate accounting shows there

           12    is no basis for Plaintiffs’ accusations of frivolous legal arguments, order violations, and so-called

           13    “foot-dragging and stonewalling.” As explained below, Facebook has made meritorious legal

           14    arguments that have prevailed in many cases and narrowed the scope of discovery in many others;

           15    complied with all discovery orders; and at all times worked in good faith to resolve the parties’ many

           16    discovery disputes through processes that were agreed upon by the parties and ordered by the Court.

           17                                                  ARGUMENT

           18             Plaintiffs invite this Court to commit error by seeking sanctions on the record in this case.5 It

           19    is well-settled that discovery sanctions are inappropriate where “reasonable people could differ”

           20    about the merits of a party’s legal position. Reygo Pac. Corp. v. Johnston Pump Co., 680 F.2d 647,

           21    649 (9th Cir. 1982); see also Operating Eng’rs Pension Tr. v. A-C Co., 859 F.2d 1336, 1344–45 (9th

           22    Cir. 1988) (sanctions are reserved for “the rare and exceptional case”—a high bar that has required

           23    the Ninth Circuit “with some regularity to reverse district court awards of sanctions”) (discussing

           24    sanctions under Fed. R. Civ. P. 11). Facebook, like Plaintiffs and this Court, wants to complete

           25
                  5
           26          The Court should reject any argument by Plaintiffs on reply based on their conclusory allegation
                       (at 9) that Facebook’s “discovery misconduct goes beyond what this motion can discuss.” See
           27          also Pls.’ Decl. ¶ 12. That claim is both untrue and undeveloped. Allowing Plaintiffs to pursue it
                       on reply would be particularly inappropriate in the context of a sanctions motion. See, e.g.,
           28          Eberle v. City of Anaheim, 901 F.2d 814, 818 (9th Cir. 1990) (litigants may not raise new issues
                       on reply); see also Lasar v. Ford Motor Co., 399 F.3d 1101, 1109–10 (9th Cir. 2005).
Gibson, Dunn &
Crutcher LLP                                                         11
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page1919ofof5555


            1    discovery so the case can proceed to the merits. But Facebook had a right to dispute Plaintiffs’ views
            2    on the scope of permissible discovery, which has at times, as the Court observed about their amended
            3    complaint, seemed to cover “anything Facebook has ever been reported to have done wrong.” See
            4    Dkt. 298 at 5. Indeed, for nearly a year, Plaintiffs took the position that they were entitled to
            5    discovery on claims this Court stayed, until Judge Corley rejected that position. Dkt. 557 at 2. It has
            6    taken time to bridge the gap, especially on important issues like ADI and named plaintiff data, which
            7    are also technically complex. So it is no surprise that these issues have taken the longest to resolve.
            8    Facebook and Gibson Dunn cannot fairly be punished for participating in processes agreed upon by
            9    the parties and ordered by the Court to do just that.
           10             Indeed, Plaintiffs have repeatedly and recently praised these processes, and just a few months
           11    ago Judge Corley rejected the suggestion by Plaintiffs that Facebook’s motion practice and appeal of
           12    orders from the Special Master relating to two of the three issues for which Plaintiffs seek sanctions
           13    were somehow improper. By way of example:
           14            In April 2021, Plaintiffs reported to Judge Corley that parties, with the help of mediators Judge
                          Andler and Mr. Garrie, had made “significant progress toward a negotiated resolution of
           15             Plaintiffs’ request for ADI materials.” Dkt. 662 at 1.
           16            In May 2021, Plaintiffs’ counsel reported they were “pleased with the progress” the parties had
                          made in mediation. Ex. 13 at 5:13–14; see also Dkt. 671 (“the parties made progress toward
           17             resolving or narrowing disputes regarding . . . Plaintiffs’ request for materials from . . . ADI”).
           18            In October 2021, Plaintiffs reported to Judge Corley that the “process” proceeding under
                          Special Master Garrie was “working” as Judge Corley “intended.” Dkt. 750 at 3:21–4:6.
           19
                         In January 2022, Judge Corley confirmed Facebook’s “right to appeal” and recognized that
           20             Facebook had not “appealed every order,” and it had not “appealed every aspect of every order.”
                          Ex. 32 at 54:9, 15–18. Moreover, she acknowledged that Special Master Garrie had “responded
           21             and narrowed his orders in response to [Facebook’s] motions for reconsideration. So I don’t
                          think you can make an argument that there was anything bad faith about that at all because he
           22             responded to it.” Id. at 54:10–13; see also id. at 9:18–19.
           23
                          This is consistent with the fact that neither Plaintiffs nor any of the discovery neutrals had
           24
                 ever accused Facebook or Gibson Dunn of engaging in sanctionable conduct.6 Stein Decl. ¶ 8.
           25
                  6
                      There are only two criticisms of Facebook in the record: (1) failing to respond promptly to
           26         Plaintiffs’ requests to meet-and-confer regarding a motion to compel, and (2) as a result, rejecting
                      arguments that the motion to compel should be denied for failing to meet and confer in advance
           27         of filing, as required. Dkt. 827 at 1; Dkt. 846 at 1. These criticisms, which have been
                      misreported in the press, had nothing to do with the merits of the motions to compel, let alone
           28         anything to do with Facebook’s or Gibson Dunn’s approach to discovery generally. These

Gibson, Dunn &
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                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                 CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page2020ofof5555


            1           Plaintiffs’ motion, which begins (at 1) with a quote from a March 2020 hearing and then
            2    chronicles a list of complaints since then, is “essentially an accumulation of all perceived misconduct
            3    . . . with a reevaluated determination that it was far more serious than appeared at the time.” See
            4    Matter of Yagman, 796 F.2d 1165, 1183 (9th Cir. 1986) (reversing an award of sanctions). That is
            5    not how sanctions are supposed to work. “District courts are expected to sanction wrongful conduct
            6    as it occurs”—not months or years afterward, as discovery winds down. FlowRider Surf, Ltd. v. Pac.
            7    Surf Designs, Inc., 2020 WL 907058, at *6 n.10 (S.D. Cal. Feb. 25, 2020). The “primary purpose of
            8    sanctions” is “to deter subsequent abuses,” and “[t]his policy is not well served by tolerating abuses
            9    during the course of an action and then punishing the offender” only later. Yagman, 796 F.2d at
           10    1183. Sanctionable conduct “should be brought to the immediate attention of the offending
           11    attorney,” and any sanctions “should be levied contemporaneously with the offending misconduct.”
           12    Id. (emphasis added); see also, e.g., Brandt v. Vulcan, Inc., 30 F.3d 752, 756 (7th Cir. 1994)
           13    (“unreasonable delay may render [a sanctions] motion untimely”); Mercy v. Suffolk Cnty., 748 F.2d
           14    52, 55 (2d Cir. 1984) (Rule 37 sanctions motion “should be promptly made”); Clark v. United States,
           15    2011 WL 66181, at *5 (D. Haw. Jan. 7, 2011) (“unexplained delay” of 10 months was
           16    “unreasonable”). Had Plaintiffs moved for sanctions (or even raised the possibility of sanctions)
           17    contemporaneously, Facebook would have had an opportunity to timely address such concerns.
           18    Now, as the parties near the end of discovery, imposing sanctions retroactively based on
           19    recharacterizations (and mischaracterizations) of years of discovery would fail to serve sanctions’
           20    “therapeutic purpose.” Yagman, 796 F.2d at 1183.
           21

           22           There is no basis for Plaintiffs’ request (at 12–26) for sanctions based on alleged “misconduct

           23    connected with ADI documents.” Facebook’s arguments based on the work-product doctrine and

           24    attorney-client privilege were justified and succeeded in meaningful ways, during mediation, in

           25    motions practice, and on appeal. And Facebook has not only complied with all orders requiring the

           26    production of the ADI documents, it affirmatively reached out to Plaintiffs to discuss additional steps

           27

           28
                    findings are so inconsequential that Plaintiffs do not even cite them in their motion.
Gibson, Dunn &
Crutcher LLP                                                       13
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                              CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page2121ofof5555


            1    not required by those orders and to jointly request clarification of them, which this Court addressed
            2    during the last case management conference. That is not a record that justifies sanctions.
            3           A.      Facebook’s claims of attorney-client privilege and work-product protection were
                                not only substantially justified but also upheld in important respects.
            4
                        Early in discovery, in an effort to prioritize the documents Plaintiffs said they wanted most,
            5
                 Facebook voluntarily produced non-privileged ADI documents—roughly 13,900 communications
            6
                 with third-party app developers. Supra at 7–8. These communications contained significant details
            7
                 about the apps addressed in ADI: They included Facebook’s requests to developers for information,
            8
                 the developers’ responses, and Facebook’s suspension notices detailing the grounds for suspension.
            9
                 Dkt. 699 at 1. Facebook also provided lists identifying which apps were suspended as a result of
           10
                 ADI. Id. Later in discovery, Plaintiffs expressed interest in approximately 3,700 apps that as of
           11
                 December 2020 had been suspended during ADI for reasons other than non-responsiveness to the
           12
                 investigation. For each of these apps, Facebook agreed to produce underlying data, including the
           13
                 type of data the apps were able to access, how many users used each app, and how many users gave
           14
                 each app access to each type of data, along with other technical information. Id. at 1–2. With respect
           15
                 to certain other ADI-related materials—confidential documents and internal communications—
           16
                 Facebook asserted good-faith claims of attorney-client privilege and attorney work-product.
           17
                        These privilege and work-product claims were important not just in this case, but in several
           18
                 other of the proceedings related to Cambridge Analytica. In one of those proceedings, the Supreme
           19
                 Judicial Court of Massachusetts resolved these same issues in March 2021 (albeit with respect to a
           20
                 more “targeted set” of materials, Ex. 10 at 17:12–13) largely in Facebook’s favor, holding that certain
           21
                 lists of ADI apps and internal ADI communications were protected by the work-product doctrine and
           22
                 attorney-client privilege. Att’y Gen. v. Facebook, Inc., 164 N.E.3d 873, 878, 881 (Mass. 2021).
           23
                 Specifically, the Court held that the attorney-client privilege covered “confidential communications
           24
                 relating to the ADI among Facebook, Gibson Dunn, and other members of the ADI team[,] including
           25
                 Facebook’s outside consultants.” Id. at 888. With respect to lists of apps addressed by ADI in certain
           26
                 circumstances (id. at 881), the Court held that they were compiled “because of the prospect of
           27
                 litigation” and therefore protectable work product because “the ADI is meaningfully distinct from
           28
                 Facebook’s ongoing enforcement program. It is staffed by outside counsel and outside forensic
Gibson, Dunn &
Crutcher LLP                                                       14
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                              CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page2222ofof5555


            1    consultants, . . . has its own distinct methodology[,]” and serves a “very different purpose” than its
            2    ongoing enforcement efforts. Id. at 891.7 The Court expressly addressed whether ADI served a “dual
            3    purpose,” id. at 892, and applied the same “because of” standard employed by the Ninth Circuit.
            4    Compare id. (citing Commissioner of Rev. v. Comcast, 901 N.E.2d 1185, 1204 (Mass. 2009)), with In
            5    re Grand Jury Subpoena, 357 F.3d 900, 907 (9th Cir. 2004).
            6            In September 2021, Judge Corley reached a different conclusion on the work-product doctrine.
            7    Dkt. 736 at 6. At issue was Plaintiffs’ demand for “documents (not created by lawyers) from” two
            8    phases of ADI, “including Facebook conducted audits and interviews.” Dkt. 711 at 2–3. Judge Corley
            9    held that certain categories of ADI-related documents (see id.) were not categorically protected because
           10    ADI had a dual business and legal purpose. Dkt. 736 at 6–7. But she refrained from issuing a more
           11    sweeping work-product ruling, leaving other documents subject to an individualized assessment. Her
           12    order also did “not address[] the application of the attorney-client privilege.” Id. at 6.
           13            These rulings confirm that Facebook’s privilege and work-product arguments were never so
           14    “dubious” as to be “in bad faith.” Contra Mot. at 25. For one thing, “dubious” is not the standard for
           15    sanctions; sanctionable conduct is conduct that is “clearly frivolous, legally unreasonable or without
           16    legal foundation.” Primus Auto., 115 F.3d at 649 (cleaned up). In any event, even on issues where
           17    Judge Corley disagreed with the Supreme Judicial Court, it is well-settled that discovery sanctions are
           18    inappropriate where “reasonable people could differ” on the merits of a party’s discovery position.
           19    Reygo Pac., 680 F.2d at 649 (reversing district court’s award of sanctions). That principle is
           20    dispositive here in light of the Massachusetts court’s decision upholding Facebook’s work-product
           21    claim under essentially the same “created because of litigation” standard that applies in the Ninth
           22    Circuit. See Colaco v. ASIC Advantage Simplified Pension Plan, 301 F.R.D. 431, 436 (N.D. Cal.
           23    2014) (denying motion for sanctions in part because “the case law on this issue [was] not fully
           24    delineated or settled” and there was “persuasive authority from other districts”).
           25

           26     7
                      The Massachusetts court also concluded that the attorney general had shown a “substantial need
           27         for the fact work product” such that any fact work product (as opposed to opinion work product)
                      should be disclosed, but that was in light of “[t]he Attorney General’s [investigative] mandate”
           28         and the “strong public interest in disclosure in cases in which the Attorney General is
                      investigating . . . that is absent in a typical civil dispute.” Facebook, 164 N.E.3d at 896.
Gibson, Dunn &
Crutcher LLP                                                        15
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page2323ofof5555


            1           For similar reasons, Plaintiffs are also wrong to contend (at 20) that after Judge Corley
            2    entered her September 2021 order, it was “frivolous” for Facebook to say that some documents not
            3    prepared by lawyers might still be privileged or work product. As to privilege, in rejecting Plaintiffs’
            4    challenge to Facebook’s assertion of privilege over non-attorney communications just last month, the
            5    Special Master held that privilege attaches to “documents assembling factual information to inform
            6    legal advice” even where the documents are not created by lawyers. Ex. 40 at 3, ¶ 10 (citing AT&T
            7    Corp. v. Microsoft Corp., 2003 WL 21212614, at *3 (N.D. Cal. Apr. 18, 2003)). Similarly, because
            8    Judge Corley “rejected the notion that the work-product privilege shielded” ADI as a whole (Mot. at
            9    20), it does not follow that particular documents created during ADI could never be work product.
           10    Rather, other courts in the Ninth Circuit typically conduct a document-by-document analysis of dual-
           11    purpose materials before holding that any particular document is non-privileged or not work product.
           12    E.g., Dolby Labs. Licensing Corp. v. Adobe Inc., 402 F. Supp. 3d 855, 868–76 (N.D. Cal. 2019);
           13    Phillips v. C.R. Bard, Inc., 290 F.R.D. 615, 641–42 (D. Nev. 2013).
           14           Simply put, the fact that Judge Corley found that some documents were not work product
           15    does not “demonstrate that the objections were made in bad faith or for other inappropriate reasons.”
           16    Quiroz v. Horel, 2014 WL 572381, at *7 (N.D. Cal. Feb. 11, 2014) (denying motion for sanctions).
           17    To the contrary, a “good faith assertion of a valid privilege (even if such assertion later proves
           18    unsuccessful) is hardly the kind of shocking behavior warranting discovery sanctions.” Aristocrat
           19    Techs. v. Int’l Game Tech., 2009 WL 3573327, at *4 (N.D. Cal. Oct. 30, 2009).
           20           B.      As Plaintiffs and Judge Corley have acknowledged, Facebook has participated in
                                good faith in dispute-resolution processes relating to the ADI documents.
           21
                        Plaintiffs rewrite history with their argument that Facebook unreasonably delayed the process
           22
                 of negotiating, litigating, and appealing the parties’ ADI disputes. At each step of the way, Facebook
           23
                 engaged in good faith in the dispute-resolution processes that the parties agreed to and this Court
           24
                 ordered. Those processes took time to play out, but that time was commensurate with the
           25
                 complexity, importance, and scope of the parties’ disputes. At no point in the process did Judge
           26
                 Corley or Special Master Garrie ever accuse Facebook of misconduct. Stein Decl. ¶ 8. Just the
           27
                 opposite—in January, Judge Corley expressly (and correctly) rejected Plaintiffs’ accusation that
           28
                 Facebook’s advocacy was pursued in bad faith. Supra, p. 13.
Gibson, Dunn &
Crutcher LLP                                                        16
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page2424ofof5555


            1            When Plaintiffs first raised the ADI issue with Judge Corley in the summer of 2020, they
            2    painted it as an easy decision. Judge Corley disagreed, observing that “[p]rivilege is not clear, and
            3    there’s arguments both ways.” Ex. 1 at 36:8–12. In response to Judge Corley’s indication that the
            4    privilege issue would have to be resolved “in chunks” and “in context,” id. at 40:20, Facebook
            5    suggested Plaintiffs review the roughly 13,900 external ADI communications Facebook had already
            6    produced, explaining that that review could help Plaintiffs identify additional materials to request
            7    about particular apps, id. at 24:20–25. Plaintiffs claim (at 14) “Judge Corley saw no reason for
            8    postponement,” but she adopted Facebook’s suggestion, telling Plaintiffs to “start reviewing those
            9    documents” so the parties could “focus on [a] subset” of apps. Id. at 36:15–22.
           10            This exchange highlights an important aspect of the ADI dispute that is conspicuously absent
           11    from Plaintiffs’ motion—proportionality. Given ADI’s breadth and length—involving millions of
           12    apps and nearly 300 internal and external personnel for more than two years, Dkt. 720 at 3—it
           13    generated an enormous volume of materials. Ex. 1 at 33:4–12, 46:24–25. Thus, any determination
           14    that ADI materials were relevant and potentially non-privileged would necessitate a proportionality
           15    analysis to account for the time and resources required to review, produce, and log the materials.
           16    And in every instance in which the parties have litigated ADI-related proportionality issues,
           17    Facebook’s positions have been adopted in whole or in part. It is no exaggeration to say that it is
           18    only because of this successful advocacy on proportionality—which began with Facebook’s
           19    suggestion in 2020 that the parties focus their dispute on a subset of apps—that Facebook has been,
           20    and will be, able to complete its productions of ADI materials on schedule.
           21            In the fall of 2020, after Plaintiffs completed the initial review, the parties heeded Judge
           22    Corley’s guidance and focused on a subset of six apps, chosen by Plaintiffs. Dkts. 513, 533.8
           23    Facebook fully complied with these stipulations and timely produced privilege logs containing
           24    roughly 6,000 entries related to the six exemplar apps on December 10, Ex. 26, Southwell Decl. ¶ 17;
           25    Stein Decl. ¶ 11(a). Completing these logs required more than 300 Gibson Dunn attorney hours. Ex.
           26    26, Southwell Decl. ¶ 16. Plaintiffs responded by challenging 400 of the 6,000 entries on the logs—
           27     8
                      Plaintiffs say (at 14) that Facebook delayed the first of these stipulations by taking “more than a
           28         month” to provide a written counterproposal. But at the time, Plaintiffs reported to Judge Corley
                      that Facebook had responded to their proposal within 10 days. Dkt. 495 at 3.
Gibson, Dunn &
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                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page2525ofof5555


            1    every entry where no attorney appeared on the communication—even though the privilege protocol
            2    required them to explain any challenges with reasonable specificity as to each entry. Dkt. 599 at 9
            3    (citing Dkt. 462 ¶ D(1)–(4)). Judge Corley ordered Plaintiffs in January 2021 to choose 20 of those
            4    communications for in camera review and ordered simultaneous briefing. Dkt. 602 at 1.
            5           When this issue was next addressed with Judge Corley at an April 2021 hearing, she offered
            6    her “tentative view” that ADI served a “dual purpose” and that, as a result, not all of the ADI-related
            7    materials were categorically protected as work product. Ex. 10 at 22:6–11, 24:15–17. Plaintiffs now
            8    claim (at 25) that Judge Corley’s comments at the hearing should have put Facebook “on notice” that
            9    any “further delay would be in bad faith.” But as explained supra at p. 15, Judge Corley did not
           10    suggest (much less rule) that all ADI documents were non-privileged or non-work product. Just the
           11    opposite: she expressly acknowledged that “there certainly are going to be documents in there that
           12    are, A, attorney-client privilege; or, B, attorney work product” that are “not going to be
           13    discoverable.” Id. at 16:22–17:3; see also id. at 17:8–21 (noting that “a lot of it I don’t think is
           14    relevant at all”). After suggesting that “a discovery mediator would be useful” in helping the parties
           15    resolve their dispute, id. at 20:6–7, Judge Corley ordered the parties “to meet and confer regarding
           16    how to proceed.” Dkt. 655.
           17           The parties spent the next several months working with the discovery mediators on ADI.
           18    While Plaintiffs now denigrate (at 16) this period as “several more months of delay,” at the time, they
           19    told Judge Corley that mediation had helped the parties make “significant progress toward a
           20    negotiated resolution of Plaintiffs’ request for ADI materials . . . in lieu of a court order.” Dkt. 662 at
           21    1; see also Dkt. 671 at 1 (“the parties made progress toward resolving or narrowing disputes
           22    regarding . . . Plaintiffs’ request for materials from . . . ADI”). That was and remains true, no matter
           23    what Plaintiffs say now: during mediation, the parties agreed to narrow the scope of their dispute
           24    from the millions of apps that were addressed during ADI, to the approximately 3,700 apps that as of
           25    December 2020 had been suspended for reasons other than non-responsiveness to the investigation.
           26    Ex. 11. Plaintiffs also initially agreed to narrow their request to specific data points about each of
           27    those apps. Ex. 12 at 1. This narrowing was consistent with Plaintiffs’ representation that “what we
           28

Gibson, Dunn &
Crutcher LLP                                                         18
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page2626ofof5555


            1    need and what we’ve asked for . . . are the facts underlying the investigation . . . . [T]he facts
            2    underlying these communications are what we’re really seeking.” Ex. 10 at 18:1–14.
            3            In June 2021, once no more progress was being made in mediation, Judge Corley ordered the
            4    parties to submit a joint letter brief explaining what documents Facebook had agreed to produce and
            5    what else Plaintiffs wanted. Dkt. 693 ¶ 2. In that submission, Plaintiffs reneged on the agreements
            6    they had made in mediation (see Dkt. 699 at 2, 6), and argued that Facebook should produce certain
            7    ADI-related communications, in addition to other ADI-related documents and data, from two phases
            8    of ADI. See Dkt. 699 at 2, 6. Because Plaintiffs had not addressed ADI-related communications in
            9    mediation, and because (as Judge Corley recognized) “none of the[] documents [from the two phases]
           10    were part of the in camera review the Court earlier conducted,” Dkt. 711 at 3, Facebook sought leave
           11    to file a declaration to substantiate its privilege and work-product claims. Dkt. 699 at 4.
           12            Plaintiffs say this request was made in bad faith, but Judge Corley granted the request, Dkt.
           13    711 at 3, and Facebook submitted a declaration in August 2021 that laid out four types of “ADI-
           14    specific investigation [materials]” associated with the two phases, explained they were designed by
           15    counsel, varied in content depending on the particulars of the investigation, and contained varying
           16    degrees of attorney-client communications and work product. Dkt. 720 at 5–7.9 Unlike the
           17    Massachusetts court, which held that even the lists showing which apps fell into which buckets
           18    reflected attorney judgment and therefore were work product, Judge Corley compelled Facebook to
           19    produce all four types of investigative materials (infra, p. 21) relating to the six exemplar apps. Dkt.
           20    736 at 7. But Facebook can hardly be said to have acted in bad faith or without substantial
           21    justification in asserting work-product protection over the four categories of materials when its work-
           22    product claim had been found to cover even less substantive materials in another jurisdiction. And
           23    while this Court (like the parties) is understandably frustrated with how long the process took, there is
           24    no basis to sanction Facebook for raising legitimate arguments through proper channels.
           25     9
                      Plaintiffs argue in their motion (at 17) that Facebook’s request to submit a declaration in support
           26         of its work-product and privilege claims was not in good faith because Judge Corley concluded it
                      had “negligible value.” But again, the fact that a party’s advocacy does not ultimately prevail is
           27         not a basis to infer bad faith. Aristocrat Techs., 2009 WL 3573327, at *4. A similar declaration
                      had persuaded the Massachusetts Supreme Judicial Court on the merits of Facebook’s position,
           28         and while Judge Corley disagreed with that court, Facebook’s invocation of privilege in this case
                      was substantially justified. Supra, p. 16–17.
Gibson, Dunn &
Crutcher LLP                                                        19
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page2727ofof5555


            1            C.      Facebook has complied with all ADI orders.
            2            The first and only order by Judge Corley compelling the production of ADI-related

            3    documents was issued in early September 2021, and was limited to any “background and technical

            4    reports, audits, and developer interviews” for the “six exemplar apps chosen by the parties.” Dkt.

            5    736 at 7.10 This order was consistent with Judge Corley’s stated approach: “take some exemplars,

            6    and rule, and then the parties then can use that and apply it,” Ex. 1 at 36:16–18, understanding “that’s

            7    not going to resolve the privilege for everything.” Id. at 36:22–23. Facebook complied with that

            8    order two weeks later, on September 21, 2021. Stein Decl. ¶ 11(c). Plaintiffs suggest this production

            9    was incomplete (at 18 n.11) because it comprised “11 documents,” but the obvious reason is that the

           10    production order was limited to six exemplar apps (and expressly did not reach communications).11

           11            Judge Corley’s September 2021 order directed the parties to “work with the Special Master

           12    Garrie regarding production of additional materials consistent with the guidance offered by [the]

           13    Order.” Dkt. 736 at 7. And that is what Facebook has done. Plaintiffs now argue (at 18–20)

           14    Facebook engaged in delay tactics from September to November 2021. But these characterizations

           15    are again inconsistent with Plaintiffs’ statements during that time, when they told Judge Corley in

           16    October 2021 that the Special Master process was “working . . . as intended.” Dkt. 750 at 3:21–4:6.

           17            While the parties disagreed about which materials should be produced under Judge Corley’s

           18    “guidance,” their work with Special Master Garrie was productive. Following Facebook’s

           19    production in response to Judge Corley’s September 2021 order, Plaintiffs requested for the first time

           20    “all memoranda prepared by [Facebook’s outside consultants],” reiterated their demand for “internal

           21    Facebook communications” regarding ADI reports, and specifically asked for all communications

           22
                 10
                      The order was expressly limited to Facebook’s claims of work-product protection—it did not
           23         address attorney-client privilege because Plaintiffs were, at that point, not seeking
                      communications by counsel. Dkt. 736 at 7.
           24    11
                      In later proceedings before the Special Master, Facebook took the position that because Judge
           25         Corley’s September 2021 order granted Plaintiffs’ request for production of certain types of ADI
                      materials but did not grant Plaintiffs’ request for production of ADI-related communications, her
           26         order had implicitly rejected that latter request. Plaintiffs now claim (at 21–22) that it “was not
                      supportable” for Mr. Snyder to state at a December 4, 2021 hearing that “a lot of law” supported
           27         Facebook’s position. That statement was true (see Snyder Decl. ¶ 6) but ultimately immaterial.
                      Judge Corley later clarified that it had not been her intention to deny Plaintiffs’ request for
           28         production of non-privileged ADI-related communications (Ex. 32 at 7:8–15, 11:9–13, 18:19–
                      19:14), and Facebook timely produced the documents the Special Master ordered it to produce.
Gibson, Dunn &
Crutcher LLP                                                        20
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page2828ofof5555


            1    with the outside consultants relating to ADI reports. Ex. 22, ¶¶ 3–4. The Special Master issued a
            2    two-part tentative order on December 8, 2021. Dkt. 766. The first part proposed to order Facebook
            3    to produce the same four types of materials Judge Corley ordered Facebook to produce for the six
            4    exemplar apps for any other apps for which these materials were created. Facebook did not seek
            5    reconsideration of, or appeal, this portion of the order, which became final on December 20, 2021.
            6    On March 3, 2022, Facebook complied with that order, producing 296,152 pages of reports (with
            7    appropriate redactions for privilege and work product).. Stein Decl. ¶ 11(f), (h).
            8           The second part proposed to order Facebook to produce “all non-attorney internal Facebook
            9    communications,” as well as communications between Facebook and its forensic consultants, “in
           10    connection with a statistically significant sample of the reports provided” in connection with the first
           11    part of the ruling. Dkt. 766 at 4. It also proposed to order Facebook to begin its production of those
           12    communications within two weeks. Id. Facebook moved for reconsideration of these portions of the
           13    tentative order on several grounds—chief among them that it would have been impossible for
           14    Facebook to review, log, and begin producing communications associated with thousands more
           15    apps—many of the reports addressed developers with multiple apps—within two weeks. Ex. 26 at 6–
           16    8; id. at Southwell Decl. ¶¶ 11–14. A similar review for just six apps had required more than 300
           17    attorney hours to complete. Id. ¶ 17. In addition, Facebook argued that the tentative ruling conflicted
           18    directly with the Massachusetts court’s ruling that ADI communications are privileged. Ex. 26 at 2.
           19           The Special Master granted Facebook’s motion for reconsideration on December 20, and
           20    issued a substantially narrowed order requiring Facebook to submit for in camera review “all ADI
           21    related communications pertaining to the six exemplar app[s].” Dkt. 776 at 4. This narrowing made
           22    it possible for Facebook to timely comply with the order, and Facebook did so four days later on
           23    Christmas Eve, submitting over 6,000 communications for in camera review. Stein Decl. ¶ 11(g).
           24           As it complied with the December 20 order, Facebook appealed to Judge Corley and argued,
           25    inter alia, that even the narrowed order improperly expanded the scope of her September 2021 order.
           26    Dkt. 778 at 2. Judge Corley held a hearing on Facebook’s appeal in January, and while she affirmed
           27    the Special Master’s order, Dkt. 806, she expressly rejected Plaintiffs’ suggestion that Facebook had
           28    moved for reconsideration or appealed in bad faith. Supra p. 13.

Gibson, Dunn &
Crutcher LLP                                                       21
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page2929ofof5555


            1            Meanwhile, the night before the hearing on Facebook’s appeal, Special Master Garrie issued
            2    an even broader ruling than the one Facebook had appealed. The new “supplemental tentative” order,
            3    issued January 10, proposed to order production of “all ADI related documents, including
            4    communications where attorneys were listed as direct recipients or were listed as copied (i.e.
            5    cc’d) . . . except for ADI related documents created for the sole and specific purpose of obtaining
            6    legal advice from attorneys.” Ex. 29 ¶ 16 (emphasis added). Facebook sought reconsideration,
            7    explaining again that the supplemental tentative order would be impossible to comply with on a
            8    reasonable timetable because the language requiring production of “all ADI related documents”
            9    would require collection, review, and production of millions of ADI-related documents and
           10    communications (including from Gibson Dunn, Facebook’s consultants, and Facebook’s employees)
           11    in a matter of days. Ex. 35 at 8. Facebook also pointed out that the standard articulated in the
           12    tentative order—“sole and specific purpose”—was inconsistent with the standards the Ninth Circuit
           13    has applied in dual-purpose cases. See In re Grand Jury, 23 F.4th 1088, 1094–95 (9th Cir. 2022)
           14    (“primary purpose” test for privilege), cert. filed (U.S. Apr. 6, 2022) (No. 21M105); United States v.
           15    Richey, 632 F.3d 559, 567–68 (9th Cir. 2011) (“because of” test for work product).
           16            Upon receiving the motion for reconsideration, the Special Master clarified that he had not
           17    intended his order to sweep as broadly as it was written. Stein Decl. ¶ 11(h). He granted the motion
           18    and narrowed his order to require production only from the “custodians the parties have identified
           19    and collected.” Ex. 36 at 5. He also changed the “sole and specific purpose” language to “primary
           20    purpose.” Id. at 4. As a result of the Special Master reconsidering and clarifying the scope of his
           21    order, Facebook was able to (and did) timely comply with the order.12 Stein Decl. ¶ 11(h).
           22            As this chronology lays out, Facebook had legitimate legal arguments—many of which
           23    prevailed, in this case and elsewhere—in response to Plaintiffs’ requests for ADI materials, and
           24
                 12
           25         The Special Master’s clarification in response to Facebook’s reconsideration motion also explains
                      why Plaintiffs are wrong to accuse Facebook (at 24) of misrepresenting the burden associated
           26         with its production of ADI materials. Had Facebook been required to produce literally all
                      documents related to ADI—as the Special Master’s January 10 tentative ruling proposed—it
           27         would have taken an enormous amount of time and resources, as Facebook explained. In granting
                      reconsideration, the Special Master narrowed the universe of materials Facebook had to produce
           28         by orders of magnitude, allowing Facebook to comply much more quickly.

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Crutcher LLP                                                       22
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                              CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page3030ofof5555


            1    raised them in good faith and through agreed-upon and court-ordered processes, as Judge Corley has
            2    expressly recognized on the record. Supra at 13. And Facebook fully and timely complied with
            3    every order that Judge Corley and Special Master Garrie have entered on ADI, ultimately producing
            4    nearly 42,000 documents totaling more than 395,000 pages. See Stein Decl. ¶ 11(l).13
            5            Indeed, after complying with the Special Master’s January 31, 2022 amended supplemental
            6    order, requiring production of documents from the “custodians the parties have identified and
            7    collected,” (Dkt. No. 828), because documents had only been collected through a certain date,
            8    Facebook reached out to Plaintiffs to discuss additional collections for a later time period and to
            9    jointly seek amendment of the order, which this Court thankfully addressed during the March 30,
           10    2022 case management conference. Dkt. 903 at 5:19–6:2. Facebook has also agreed, among other
           11    things, to collect documents for this time period for MDL custodians, as well as ADI custodians, and
           12    to use search terms for the collection that the parties are negotiating. See Stein Decl. ¶ 11(j).
           13

           14            Plaintiffs seek sanctions relating to named plaintiff data based on two accusations that are

           15    patently false. First, Plaintiffs say (at 32) that Facebook has “disobeyed Judge Corley’s order for

           16    more than a year.” But the “order” referred to by Plaintiffs, Discovery Order No. 9 (Dkt. 557), did

           17    not require Facebook to produce additional named plaintiff data beyond the nearly one million pages

           18    that had already been produced.14 Discovery Order No. 9 simply identified the scope of permissible

           19    discovery on named plaintiff data, which Facebook believed then (and still believes) is covered by its

           20    prior productions consistent with Rule 26. Plaintiffs’ reliance on subsequent orders by Judge Corley

           21    and Special Master Garrie as “confirming” that Facebook has disobeyed Discovery Order No. 9 is

           22
                 13
                      Plaintiffs’ claim (at 24) that Facebook had produced only “50 ADI documents” as of February 3,
           23         2022 is both inaccurate and misleading—inaccurate because Facebook had actually produced
                      documents totaling appx. 31,000 pages by that date, and misleading because just one day after
           24         this artificial date, Facebook produced an additional 405 documents (and another 1,096 the week
                      after that). Stein Decl. ¶ 11(k). In any event, Plaintiffs’ selective retelling does not change the
           25         fact that Facebook fully and timely complied with every ADI-related order that was issued.
                 14
           26         Plaintiffs say only (at 30) that they “expected” Facebook to produce additional named plaintiff
                      data in response to Discovery Order No. 9. That expectation is not a basis for sanctions,
           27         particularly given Plaintiffs’ failure to appreciate that Facebook had, in fact, already produced
                      data in each of the three categories of “discoverable user data” Judge Corley identified. See, e.g.,
           28         CRS Recovery, Inc. v. Laxton, 2008 WL 2951379, at *1 (N.D. Cal. July 25, 2008) (denying
                      sanctions motion where defendant had not violated any discovery order).
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Crutcher LLP                                                        23
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page3131ofof5555


            1    puzzling. As explained below, Discovery Order No. 9 identified three categories of “discoverable
            2    user data” and was followed by a process, starting with Judge Corley and continuing with Special
            3    Master Garrie, to determine what, if any, additional named plaintiff data should be produced based on
            4    evidence of sharing or potential sharing so as to make production of that data relevant and
            5    proportional to the needs of the case. Judge Corley’s most recent order on named plaintiff data could
            6    not be clearer in describing the current Special Master proceedings:
            7           [T]o work with the parties to determine what, if any, data from [systems other than the
                        DYI system] should be produced consistent with Federal Rule of Civil Procedure
            8           26(b). The Special Master, with his technical expertise, is well-positioned to review
                        the evidence and determine whether systems may contain shared Named Plaintiffs’
            9           data, or may not. And, similarly, whether the production of potentially shared Named
                        Plaintiff data is feasible and proportional to the needs of the case.
           10
                 Dkt. 807 at 4 (emphases added).
           11
                        Second, Plaintiffs say (at 26–27) that Facebook’s participation in the process of determining
           12
                 what, if any, additional named plaintiff data should be produced constitutes “deliberate foot-
           13
                 dragging.” This accusation is also false. As explained below, in a case this Court described as being
           14
                 “about Facebook’s practice of sharing its users’ personal information with third parties,” Dkt. 298 at
           15
                 1, Plaintiffs have been trying (unsuccessfully) to compel production of named plaintiff data that was
           16
                 not “shared” with a third party under any conceivable definition of that term. Most notably, Plaintiffs
           17
                 seek production of all user data that Facebook uses for targeted advertising on its platform, even
           18
                 though that data is never disseminated to, obtained by, or accessed by any third party. Plaintiffs’
           19
                 theory seems to be that, as long as data was used by Facebook in a way that benefits a third party, the
           20
                 data is “shared or made accessible to” a third party. As explained below, after Discovery Order No. 9
           21
                 issued and Plaintiffs argued for this type of discovery, Judge Corley noted that Plaintiffs’ theory did
           22
                 not seem consistent with the type of “sharing” at issue in this case, which she observed, consistent
           23
                 with this Court’s ruling on Facebook’s motion to dismiss, concerned Cambridge Analytica and
           24
                 situations where data is actually disseminated to and obtained by a third party. Ex. 5; see also Dkt.
           25
                 298 (“This lawsuit, which stems from the Cambridge Analytica scandal, is about Facebook’s
           26
                 practices of sharing its users’ personal information with third parties.”). Judge Corley also found that
           27
                 Plaintiffs did not have to take Facebook’s word on whether user data was “shared or [made]
           28

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Crutcher LLP                                                       24
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page3232ofof5555


            1    accessible to” third parties, Dkt. 807, and, through Discovery Order Nos. 11 and 12, allowed
            2    Plaintiffs to conduct discovery on this issue to determine whether additional named plaintiff data
            3    should be produced. E.g., Dkt. 588, 602; Ex. 5; Ex. 6. Plaintiffs took a 30(b)(6) deposition on this
            4    topic, but made no showing then (or since) that there is any reason to believe that Facebook has not
            5    produced data that is shared, or even potentially shared, with third parties so as to justify production
            6    consistent with Rule 26.
            7            As Judge Corley confirmed in her January 12, 2022 order, Dkt. 807 at 4, the current process
            8    before Special Master Garrie is meant to address the issue that Plaintiffs left unanswered: what, if
            9    any, additional data should be produced consistent with Rule 26. Just over two weeks later, Plaintiffs
           10    filed a CMC statement in which they falsely accused Facebook of “delay” by following that process
           11    and violating Discovery Order No. 9. Dkt. 829 at 6. Plaintiffs’ accusations are not supported by the
           12    record, and do not support any award of sanctions. The fact that this process remains ongoing also
           13    weighs against sanctions. Cf. Moore v. Stepp, 2014 WL 116271, at *1 (N.D. Cal. Jan. 13, 2014)
           14    (denying sanctions motion when defendant could still comply with a discovery order).
           15         A. March–October 2020: Facebook produced named plaintiff data that could have been
                         shared with third parties, including in all three categories of “discoverable user data”
           16            identified in Discovery Order No. 9.

           17            Facebook has produced nearly one million pages of named plaintiff data. Stein Decl. ¶ 10(b).
           18    The data came from a Facebook system called “Download Your Information,” or “DYI,” which
           19    represents the most complete and best compilation of data Facebook maintains associated with that
           20    user in a human-readable and producible format. Ex. 25 at Ex. C [Mitchell Decl.], ¶ 4, ¶ 5. DYI
           21    contains data in all three categories of “discoverable user data” identified in Discovery Order No. 9:15
           22    (1) on-platform activity, (2) off-platform activity, and (3) data inferred from on and off-platform
           23    activity. The contents of DYI files are described in more detail above. Infra at 5–6.
           24            Plaintiffs claim in their motion (at 28), as they have throughout these proceedings to create
           25    the false impression that Facebook’s production of named plaintiff data is deficient, that the DYI
           26    system contains only data in category (1): on-platform activity. That is not true, and it is difficult to
           27
                 15
           28         Whether data constitutes “on-platform,” “off-platform” or “inferred” is a legal question on which
                      Facebook does not take a position for the purposes of trying to identify data in these categories.
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Crutcher LLP                                                        25
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page3333ofof5555


            1    see how Plaintiffs could make such an assertion. DYI files—which Plaintiffs have had since 2020
            2    and which they claim to have reviewed, Ex. 3 at 4:19–20—contain all three types of “discoverable
            3    user data,” and as Facebook has repeatedly told Plaintiffs, include data that could have been shared or
            4    made accessible to third parties and therefore are relevant and proportional to their claims. Ex. 25 at
            5    Ex. C [Mitchell Decl.] ¶ 5.
            6       B. June–October 2020: Judge Corley issues Discovery Order No. 9, which identifies three
                       categories of “discoverable user data.”
            7
                        Plaintiffs say that in “Summer 2020” (at 28) they found documents that identified “three
            8
                 categories of data [Facebook] collects about users and shares with third parties—and had not turned
            9
                 over to Plaintiffs” (citing Pls.’ Ex. 65). As Facebook explained to Judge Corley in October 2020,
           10
                 Dkt. 537 at 7 n.6, and again to the Special Master recently, Ex. 41 at Ex. B, that claim is false. Data
           11
                 identified in those documents are either in the DYI system or relate to products that were deprecated
           12
                 before this case was filed. Id. Plaintiffs also claim (at 29) that, during the period between August
           13
                 2020 and October 2020, “Judge Corley issue[d] an order agreeing with Plaintiffs on the scope of
           14
                 relevant user data.” (emphasis added). This claim is also false. Judge Corley’s order identified the
           15
                 scope of “discoverable user data,” not whether it was relevant and proportional to the case so as to
           16
                 require production of that data.
           17
                        Following a hearing before Judge Corley, on July 31, 2020, in which Plaintiffs complained
           18
                 about deficiencies in Facebook’s production of named plaintiff data without having reviewed it,
           19
                 Judge Corley issued Discovery Order No. 5, directing Plaintiffs to complete their review and the
           20
                 parties to meet and confer regarding Plaintiffs’ concerns. She also ordered the parties to “include [in
           21
                 their next joint statement to the court] information regarding the meet and confer efforts and discuss
           22
                 in detail each sides’ understanding of what precisely has been produced and precisely what is the data
           23
                 that is being withheld as not relevant or not reasonably available.” Dkt. No. 487.
           24
                        In the next joint statement to Judge Corley, filed in advance of a hearing on August 14, 2020,
           25
                 Facebook reported that, during the parties’ meet and confer, “Plaintiffs incorrectly stated that they
           26
                 had not yet received several types of data that were included in Facebook’s production,” including
           27
                 data about the named plaintiffs’ off-Facebook activity; GPS data; ad interests and interactions; logins,
           28

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Crutcher LLP                                                       26
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page3434ofof5555


            1    logouts, and periods of time users were active on Facebook; devices used to access Facebook; cookie
            2    information; and IP addresses. Dkt. 495 at 4-5. Plaintiffs (wrongly) reported that the DYI system
            3    was an “archive” that does not contain “GPS information, cell tower information, and data analytics
            4    possessed by Facebook,” accused Facebook of refusing to tell them what data was being withheld,
            5    and sought a Rule 30(b)(6) deposition on that topic.16 Id. at 2–3.
            6            During the August 14, 2020 hearing, Judge Corley rightly described the issue of “what [data
            7    is being] withheld” as “a chicken-and-egg problem,” in light of the parties’ disagreement regarding
            8    the permissible scope of discovery, and directed the parties to “adjudicate that dispute as [to]
            9    discoverability,” which the parties did over the next two months. Ex. 3 at 14:20-17:7. Facebook
           10    argued that the scope of discoverable user data should be limited to sensitive information shared by
           11    users on Facebook and given to third parties. Dkt. 537 at 1; see also Dkt. 515 at 8-9. Plaintiffs
           12    argued that “sensitive information about users that Facebook shared with third parties” derives from
           13    “(1) what a user posts and the user’s activity on Facebook; (2) information about users originally
           14    generated off the Facebook platform but obtained by Facebook; and (3) information derived by
           15    Facebook from a user’s activity on and off Facebook,” Dkt. 547-3 at 1, and therefore argued that no
           16    source of this shared data should be excluded from discovery. Plaintiffs emphasized that they “seek
           17    only a holding that the sensitive data Facebook collected about [the named plaintiffs] and shared with
           18    third parties is relevant.” Id. at 9 (emphasis in original).
           19            On October 29, 2020, Judge Corley issued Discovery Order No. 9, identifying the following
           20    three categories of “discoverable user data”: (1) data collected from a user’s on-platform activity; (2)
           21    data obtained from third parties regarding a user’s off-platform activities; and (3) data inferred from a
           22    user’s on or off-platform activity. Dkt. 557. The order did not direct or require Facebook to produce
           23    any additional named plaintiff data.
           24

           25
                 16
           26         At the August 14, 2020 hearing, Plaintiffs elaborated further, arguing that Facebook received
                      more data in the form of “content” of what “users did” on a third-party site than was available in
           27         DYI. Ex. 3 at 5:10-13 (“So there’s an event that says one of the users went to a website, but the
                      content of what they did on the site is stripped away.”). Facebook’s 30(b)(6) witness later
           28         testified that Facebook did not receive that information. Ex. 7 at 75:2-24, 77:23-78:13, 81:10-
                      82:19.
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Crutcher LLP                                                         27
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page3535ofof5555


            1         C. November 2020–January 2021: Judge Corley issues Discovery Order Nos. 11 and 12,
                         allowing Plaintiffs to conduct discovery into what, if any, additional named plaintiff data
            2            covered by Discovery Order No. 9 is relevant and proportional to their claims and
                         therefore should be produced under Rule 26.
            3
                         Following Discovery Order No. 9, the parties submitted a joint statement in advance of a
            4
                 hearing on December 9, 2020, in which Plaintiffs reported that they had asked Facebook to identify
            5
                 all data in the three categories of “discoverable user data” identified in Discovery Order No. 9. Dkt.
            6
                 583 at 1. Facebook reported that, given Plaintiffs’ position in briefing on Discovery Order No. 9 that
            7
                 they were seeking only sensitive data shared with third parties, Facebook believed it had already
            8
                 produced such data but was continuing to investigate for the 13-year time period. Id. at 9.
            9
                         During the December 9, 2020 hearing, Facebook reiterated its belief that it had already
           10
                 produced named plaintiff data that could have been shared or made accessible to third parties, subject
           11
                 to confirming the 13-year time period. Ex. 5 at 17:9-18:9, 22:17-23:15; 28:6-7. Plaintiffs (falsely)
           12
                 claimed they had received “no production of data Facebook receives from third parties” and “no
           13
                 inferred data,” id. at 21:2-4,17 and said they wanted data that had been “made accessible” to third
           14
                 parties, not just data that had been shared with third parties. Id. at 18:15-16. In response to Judge
           15
                 Corley pointing out that Facebook’s counsel had covered both points, shared and made accessible, id.
           16
                 at 19:6, Plaintiffs said: “Then, perhaps, we need some clarification on what [Facebook] interpret[s]
           17
                 ‘made accessible’ to mean because it doesn’t mean the same thing as actually shared.” Id. at 19:8-10.
           18
                 Plaintiffs then explained their view that user data used for targeted advertising is “shared or made
           19
                 accessible” to advertisers, id. at 21:7-23, 24:3-11, to which Facebook responded by pointing out that
           20
                 targeted advertising was not among the four theories of liability this Court had allowed to proceed in
           21
                 Pretrial Order No. 20, id. at 22:12-16. When Plaintiffs disagreed, id. at 23:16-22, Judge Corley
           22
                 responded: “No, no, no, no. I don’t think so. . . . This is—this [case] came from Cambridge
           23
                 Analytica and that [Cambridge Analytica] had access to [sensitive user] information.” Id. at 23:23-
           24
                 25. Judge Corley and Plaintiffs then had an exchange trying to clarify what Plaintiffs meant by
           25
                 “shared or made accessible” during which Judge Corley indicated she understood Cambridge
           26

           27    17
                      Plaintiffs have been saying since December 2020 that they have documents that “talk about
           28         sharing inferences,” Ex. 5 at 28:18-20, but their motion does not point this Court to a single one
                      that expressly addresses sharing inferences, calling that representation into question.
Gibson, Dunn &
Crutcher LLP                                                        28
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page3636ofof5555


            1    Analytica, and therefore Plaintiffs’ claims, to involve a third party actually obtaining or accessing
            2    user data, not data used by Facebook to place targeted advertisements that is not disseminated to,
            3    obtained by, or even learned by third parties. Id. at 24-27. This exchange ended with Judge Corley
            4    ordering a Rule 30(b)(6) deposition on this “disconnect” between the parties, id. at 26:6, namely:
            5    “How [does Facebook] use this data? How is it shared? What do they mean by ‘made accessible?’”
            6    Id. at 30:4-8.
            7            So the Rule 30(b)(6) deposition was intended to help Plaintiffs identify what data exists in the
            8    three categories of “discoverable user data” and whether there is any basis to say it is actually “shared
            9    or made accessible” to third parties so that a further determination could be made as to what, if any,
           10    additional named plaintiff data should be produced consistent with Rule 26. This is clear from Judge
           11    Corley’s Discovery Order No. 11, issued after the December 9, 2022 hearing: “What is needed now is
           12    more detail about Facebook’s collection and use of user data so future discovery requests can be
           13    tailored to Plaintiffs’ better understanding of the internal operations of Facebook as well [as] the
           14    terminology it uses for describing data that is potentially responsive to Plaintiffs’ discovery requests.”
           15    Dkt. 588 at 1. Judge Corley further made clear that the “30(b)(6) topics shall be narrowly tailored to
           16    assist Plaintiffs with identifying relevant discovery . . . .” Id. at 2 (emphasis added). Discovery Order
           17    No. 11 therefore made clear that Discovery Order No. 9 was not an order compelling the production
           18    of any additional named plaintiff data. Instead, in response to Facebook’s position that it had already
           19    produced all data in the three categories of discoverable user data that was shared with or made
           20    accessible to third parties, Plaintiffs were directed to conduct a Rule 30(b)(6) deposition to determine
           21    whether there was any additional named plaintiff data in these categories for which there was a basis
           22    to say the data has been “shared or made accessible” to third parties, such that it was relevant and
           23    proportional to their claims and should be produced under Rule 26. After a dispute with Plaintiffs
           24    over the scope of their Rule 30(b)(6) notice—a dispute that Facebook won, Ex. 6 at 17:12–13, 19:19–
           25    23:13—the deposition took place in February 2021.18
           26

           27    18
                      Plaintiffs allege (at 31) that Facebook refused to let the 30(b)(6) witness testify on the contents of
           28         Plaintiffs’ Exhibit 65. Not so. The testimony on that document spanned forty pages of the
                      transcript, including nine pages after the objection Plaintiffs complain about. Ex. 7 at 51-93.
Gibson, Dunn &
Crutcher LLP                                                         29
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                 CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page3737ofof5555


            1            In March 2021, Plaintiffs sent Facebook a letter “renew[ing]” their demand that Facebook
            2    produce “all data and information relating to the Named Plaintiffs,” backtracking on their repeated
            3    representations to Judge Corley that they sought only data that was shared with third parties. Ex. 8
            4    (emphasis added). In April 2021, Facebook sent a letter to Plaintiffs again stating its position that
            5    “Facebook’s productions under Discovery Order No. 9 are complete.” Ex. 9 at 6.
            6            D.     April–September 2021: The parties go to mediation about various discovery
                         disputes, and Plaintiffs continue to seek production of all named plaintiff data in the three
            7            categories of discoverable user data identified in Discovery Order No. 9.

            8            Between April and September 2021, the parties worked with the discovery mediators on
            9    various discovery disputes. On September 10, 2021, Plaintiffs again (falsely) asserted that
           10    “Facebook has not produced data from categories 2 or 3” of Discovery Order No. 9 and demanded
           11    production of “all data” relating to the named plaintiffs, regardless of whether it had been shared or
           12    made accessible to third parties. Ex. 20 at 2, 4. Facebook responded, again explaining that it
           13    produced data in all three categories that was shared or made accessible to third parties, and that,
           14    Plaintiff still had not made any showing that more shared data existed and should be produced
           15    consistent with Rule 26. Ex. 21. In October 2021, the discovery mediators declared an impasse “on
           16    the issue of whether Facebook should be compelled to produce additional documents related to the
           17    Named Plaintiffs,” and the parties briefed the issue before Special Master Garrie. Ex. 24 at 3.19
           18            E.     October 2021–Present: Plaintiffs move to compel, resulting in orders requiring the
                         parties to participate in a process before the Special Master to determine what, if any,
           19            additional named plaintiff data should be produced.

           20            Since October 2021, Special Master Garrie has been working with the parties to determine
           21    what, if any, additional named plaintiff data should be produced consistent with Rule 26, and
           22    Facebook has fully and timely complied with each of his 11 orders, none of which has required
           23    Facebook to produce additional named plaintiff data.
           24            On November 29, 2021, Special Master Garrie issued his first tentative ruling, directing
           25    Facebook to submit a list of systems that may contain named plaintiff data in the three categories of
           26    discoverable user data identified in Discovery Order No. 9, after which the parties would meet and
           27    19
                      Plaintiffs concede (at 32) that the impasse declared by the mediators in October 2021 related to
           28         “the production of further data related to the named plaintiffs,” further undercutting their
                      argument that the order issued a year before ordered the production of further data.
Gibson, Dunn &
Crutcher LLP                                                        30
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page3838ofof5555


            1    confer and submit a proposed protocol for production of data from those systems. Ex. 24 at 6. In
            2    support of his order, Special Master Garrie relied on Plaintiffs’ Exhibit 65 to find that “Facebook
            3    appears to maintain data related to the Named Plaintiffs that was not produced in response to”
            4    Plaintiffs’ RFPs because “it is not available via the DYI Tool.” Id. at 5. Plaintiffs rely on this finding
            5    (at 33) as evidence that Facebook “disobeyed” Discovery Order No. 9, but the document establishes
            6    nothing of the sort. Supra at 27. Moreover, Plaintiffs’ implication that the Special Master only
            7    uncovered this allegedly unproduced data in November 2021 is also wrong. Facebook told Plaintiffs
            8    and the Court in August 2020 that there was “machine readable data that might reflect the off-
            9    Facebook activity that [Plaintiffs’ counsel] is describing in a kind of raw, disaggregated way[,]” but
           10    explained that this information is “not associated with the plaintiffs’ account” and instead is
           11    associated with the advertiser. Ex. 3 at 7:16-11:19. And Judge Corley acknowledged that Facebook
           12    might have to search the “book” of data associated with certain advertisers, and noted that Plaintiffs
           13    now “have a template of where to start” to look for that data. Id. at 11:5-19.
           14            Facebook sought reconsideration of the Special Master’s November 29, 2021 tentative order
           15    on December 10, 2021, arguing that the order should be limited to data that was shared or made
           16    accessible to third parties. Ex. 25. Facebook also argued that compliance with the tentative order as
           17    written would have been impossible in the four days permitted. Id. Facebook submitted a
           18    declaration identifying a list of 149 systems that may store or interact with user data that Facebook
           19    had compiled previously, explaining that the “purpose and function” of the 149 systems identified
           20    “may vary depending on the team that is using it.” Ex. 25; id. at Ex. B [Pope Decl.], ¶¶ 7-8. Special
           21    Master Garrie granted Facebook’s reconsideration motion on December 17, 2021, narrowing the
           22    tentative order to require Facebook to submit “a high level description of the most common functions
           23    and purposes of the system,” and instructing Plaintiffs to submit “a list of systems from which
           24    Plaintiffs believe Facebook should produce data relating to the named Plaintiffs, explaining for each
           25    system why they believe the data should be produced.” Ex. 27 at 7. Facebook timely complied with
           26    the amended order, Ex. 25; Ex. A,20 but appealed certain aspects of it to Judge Corley, Dkt. 780.
           27
                 20
                      Plaintiffs allege (at 36) that they only discovered that the list of 149 systems identified in the Pope
           28         declaration had been prepared in the ordinary course, and not “for this case,” during the “first

Gibson, Dunn &
Crutcher LLP                                                         31
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                 CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page3939ofof5555


            1           On January 12, 2022, Judge Corley affirmed the amended order, but Plaintiffs misrepresent (at
            2    32) her ruling as (1) confirming that Facebook had “disobeyed” Discovery Order No. 9, and (2) holding
            3    that whether data was shared or made accessible to third parties is irrelevant to determining what, if
            4    any, additional named plaintiff data should be produced. The text of the order contradicts both points:
            5           [Special Master Garrie is working] with the parties to determine what, if any, data from
                        [Facebook systems] should be produced consistent with Federal Rule of Civil Procedure
            6           26(b). The Special Master, with his technical expertise, is well-positioned to review the
                        evidence and determine whether systems may contain shared Named Plaintiffs’ data, or may
            7           not. And, similarly, whether the production of potentially shared Named Plaintiff data is
                        feasible and proportional to the needs of the case.” Dkt. 557 (emphasis added).
            8
                        On point (1), the order confirms that Discovery Order No. 9 identified three categories of
            9
                 “discoverable user data” and that it is a separate issue whether additional data in those categories
           10
                 must be produced under Rule 26. After Discovery Order No. 9 was issued at the end of 2020, Judge
           11
                 Corley allowed Plaintiffs to pursue discovery for data in all three categories to determine whether
           12
                 there was a basis for compelling production of that data under Rule 26—i.e., whether Plaintiffs could
           13
                 identify any basis for their contention that data “shared or made accessible” to third parties existed
           14
                 and had not been produced to Plaintiffs. Plaintiffs did not make, and still have not made, any such
           15
                 showing, and the parties are in the process of determining “what, if any,” additional named plaintiff
           16
                 data should be produced consistent with Rule 26 before the Special Master. Dkt. 807 at 4:9-10.
           17
                        On point (2), the order also confirms that Plaintiffs’ characterization of Judge Corley’s order
           18
                 is false. Plaintiffs characterize Judge Corley’s order as holding that whether data was “shared or
           19
                 made accessible to third parties” is not relevant to the determination being made by Special Master
           20
                 Garrie. Judge Corley rejected “Facebook’s contention that [] the only discoverable named plaintiff
           21
                 data are the data that Facebook concedes it shared with third parties.” Dkt. 807 at 2:24-25 (emphasis
           22
                 added). But that does not mean that whether data was shared with third parties is irrelevant to
           23
                 determining whether additional named plaintiff data should be produced consistent with Rule 26.
           24
                 Judge Corley went on to make that clear.
           25

           26

           27
                    hearing” with Mr. Pope on January 14, 2022. Not so. Facebook’s January 6, 2022 letter
           28       expressly stated that the list was comprised of “existing materials prepared by Mr. Pope’s team in
                    the course of its work, which was unrelated to this or any litigation.” Ex. 30 at 1.
Gibson, Dunn &
Crutcher LLP                                                        32
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page4040ofof5555


            1            Just as she did nearly a year before in directing Plaintiffs to conduct discovery into whether
            2    there was additional user data in the three categories of “discoverable user data” that was shared or
            3    made accessible to third parties (see Dkt. 588), Judge Corley explained again that “how Facebook
            4    uses the data it collects about its users is an ‘open question,’” and “[t]he first step in answering that
            5    question is to identify the data it collects about its users and, specifically, what it has collected about
            6    the Named Plaintiffs.” Dkt. 807 at 4:1-2. While Judge Corley rejected Facebook’s position that the
            7    discovery conducted last year by Plaintiffs resolved that issue, it is hard to understand how Plaintiffs
            8    can take the position that she also held that whether data was shared with third parties is irrelevant to
            9    determining what, if any, additional named plaintiff data must be produced under Rule 26. Judge
           10    Corley referred to “shared” data not once, but twice in describing the ongoing process before the
           11    Special Master to determine what, if any, additional named plaintiff data should be produced.
           12            Since November 29, 2021, the Special Master has issued 11 orders. Facebook has timely
           13    complied with all of those orders through submissions compiling substantial volumes of dense
           14    technical information on very short turnarounds,21 and the Special Master and parties have together
           15    participated in three hearings in which four Facebook witnesses provided nearly 10 hours of
           16    testimony. Stein Decl. ¶ 12(g). Through this process, the Special Master and Plaintiffs have been
           17    able to test—and confirm—that Facebook has produced named plaintiff data in all three categories of
           18    “discoverable user data” identified in Discovery Order No. 9. They have also been able to gather
           19    information about Facebook’s systems to determine, as Judge Corley explained in her January 12,
           20    2022 order, “whether systems may contain shared Named Plaintiffs’ data, [] and whether the
           21    production of potentially shared Named Plaintiff data is feasible and proportional to the needs of the
           22    case.” Special Master Garrie has lauded the quality of Facebook’s work in that process. At the
           23    beginning of a recent hearing, he opened by saying he wanted to “officially on the record recognize
           24    and thank Facebook for accommodating an accelerated timeline for a very complex set of problems”
           25    and stating that “the answers and data that has been provided is very helpful.” Ex. 42 at 6:21–7:11.
           26    21
                      Plaintiffs highlight (at 35) the Special Master’s use of “nonsensical” to describe Facebook’s
           27         January 27, 2022 submission. Facebook understands that its submission was not as clear as it
                      could have been, however it was prepared in good faith and in short order. Once Facebook
           28         conferred with the Special Master, he recognized that Facebook had provided the information
                      requested. Ex. 48.
Gibson, Dunn &
Crutcher LLP                                                         33
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                 CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page4141ofof5555


            1           The parties’ disputes relating to named plaintiff data have been hard-fought, time-consuming,
            2    and frustrating—for everyone involved. But that is not because Facebook disobeyed orders or
            3    engaged in foot-dragging or stonewalling. It is because of the parties’ conflicting views on what it
            4    means for user data to be “shared or made accessible to” third parties. Plaintiffs’ view seems to be
            5    that all user data that Facebook uses in its business to benefit a third party is “shared or made
            6    accessible to” that third party—even if the data is never disseminated to, obtained by, or even learned
            7    by the third party, such as data used by Facebook for targeted advertising on its platform. Facebook’s
            8    view is that Plaintiffs’ definition of “sharing and accessibility” cannot possibly be what this Court
            9    meant in allowing certain claims (and related discovery) to proceed in a case it described as follows:
           10    “Broadly speaking, this case is about whether Facebook acted unlawfully in making user information
           11    widely available to third parties. It’s also about whether Facebook acted unlawfully in failing to do
           12    anything meaningful to prevent third parties from misusing the information they obtained.” Dkt. 298
           13    at 3. Under Plaintiffs’ view, there is no limiting principle. Indeed, Plaintiffs have now dropped all
           14    pretense of seeking discovery of only user data that is shared or made accessible to third parties. On
           15    March 1, 2022, Plaintiffs served a Rule 30(b)(6) deposition notice seeking testimony on “the types of
           16    User Data or Information Facebook shared, made accessible or permitted Third Parties to target,”
           17    Ex. 39 at 11 (emphases added), which admits what they have been doing all along—seeking
           18    discovery on stayed targeted advertising claims. Dkt. 298 at 6 (observing that Plaintiffs “appear to
           19    concede [targeted advertising] is perfectly legitimate”).
           20           These conflicting views resulted in disputes over (1) whether discovery of data that is not
           21    shared or made accessible to third parties is permissible, and (2) if so, the extent of that discovery.
           22    Discovery Order No. 9 resolved (1), holding that user data in three categories that Plaintiffs argued
           23    was “shared” with third parties was discoverable, and Discovery Order Nos. 11 and 12 resolved (2)
           24    by allowing Plaintiffs to conduct discovery on what named plaintiff data exists in the three categories
           25    and how it was used to test whether it was shared or made accessible to third parties. In other words,
           26    these orders allowed discovery into three categories of “discoverable user data,” but none required
           27    Facebook to produce named plaintiff data that was not shared or made accessible to third parties.
           28

Gibson, Dunn &
Crutcher LLP                                                        34
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page4242ofof5555


            1            In any event, Facebook remains optimistic that, with the help of Special Master Garrie, the
            2    parties will resolve the issue of “what, if any” additional named plaintiff data should be produced.22
            3

            4            Plaintiffs’ request for sanctions based on Facebook’s approach to deposition scheduling (at

            5    38–42) seeks to punish Facebook for engaging in uncontroversial civil discovery practices. Facebook

            6    postponed three named plaintiff depositions (after taking two) because Plaintiffs had not yet produced

            7    discovery materials relevant to the depositions. And Facebook sought to depose some of the former

            8    named plaintiffs so that it could gain unique, otherwise-unavailable information about standing and

            9    predominance. This is routine and uncontroversial civil litigation, not sanctionable conduct.
                         A.      Postponing depositions until relevant documents have been produced is good
           10                    practice, not bad faith.
           11            It would be unprecedented to impose sanctions on Facebook for rescheduling depositions
           12    based on Plaintiffs’ incomplete discovery responses. And it would be especially unfair to do so in
           13    this case, where the Special Master’s Deposition Scheduling Protocol specifically states that parties
           14    may not reopen a deposition based on the other side’s failure to substantially complete document
           15    production before the deadline. Dkt. 789 at 9. Far from warranting sanctions, it was standard
           16    practice for Facebook to request to postpone depositions until it had all of the documents it needed.
           17    Plaintiffs themselves seem to recognize this, as they recently postponed three depositions,
           18    purportedly on grounds that they would prefer to wait for the production of documents they believe
           19    are relevant to those depositions. Stein Decl. ¶ 13(b).
           20            It is a widely recognized principle of civil discovery that, whenever possible, relevant
           21    documents should be produced before a witness’s deposition. E.g., Planned Parenthood Fed’n of
           22    Am., Inc. v. Ctr. for Med. Progress, 2019 WL 1589974, at *8 n.6 (N.D. Cal. Apr. 11, 2019)
           23    (“documents should be produced in advance of those depositions to avoid further delays in the
           24    discovery process”); accord Adobe Sys. Inc. v. A & S Elecs., Inc., 2016 WL 8222618, at *3 (N.D.
           25    Cal. June 30, 2016); In re TFT-LCD (Flat Panel) Antitrust Litig., 2012 WL 13093328, at *2 (N.D.
           26
                 22
           27         Facebook has added new categories of data to the DYI systems, since producing named plaintiffs
                      data in 2020. Facebook is happy to produce updated versions of DYI files for the named
           28         plaintiffs but has understood that Plaintiffs are not interested in additional DYI data, since it is
                      “already available to Plaintiffs” through their Facebook accounts.
Gibson, Dunn &
Crutcher LLP                                                        35
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page4343ofof5555


            1    Cal. Oct. 19, 2012). Indeed, this Court’s Guidelines for Professional Conduct instruct that attorneys
            2    “should not delay producing documents to prevent opposing counsel from inspecting documents prior
            3    to scheduled depositions.” N.D. Cal. Guidelines for Professional Conduct § 9.
            4           Decisions from this Court regularly give effect to that principle. If documents relevant to a
            5    witness have not been produced before a scheduled deposition, the parties are advised to “work
            6    [together] to select another date for the deposition.” In re Subpoena Issued to Cisco Sys., Inc., 2010
            7    WL 3155895, at *2 n.1 (N.D. Cal. Aug. 9, 2010). If they do not, and a later document production
            8    necessitates a supplemental deposition, this Court often requires the party that failed to produce
            9    documents before the first deposition to bear the fees and costs of the second one. Claypole v. Cnty.
           10    of Monterey, 2016 WL 145557, at *2 (N.D. Cal. Jan. 12, 2016); Mas v. Cumulus Media Inc., 2010
           11    WL 4916402, at *31 (N.D. Cal. Nov. 22, 2010); McConnell v. PacifiCorp Inc., 2008 WL 4279682, at
           12    *1–7 (N.D. Cal. Sept. 12, 2008). The reason is simple: Contemporary complex litigation is heavily
           13    document-driven. One of the core purposes of a deposition is to examine the witness on relevant
           14    documents about which the witness may have unique or important knowledge. Receiving documents
           15    before a deposition increases the likelihood that the deposition will be illuminating and productive.
           16           In this case, waiting until after documents had been produced to take depositions was
           17    especially important. In many complex cases, if relevant documents are produced after—or even
           18    shortly before—a witness’s deposition, courts simply order the witness to sit for a second day of
           19    testimony. E.g., Apple Inc. v. Samsung Elecs. Co., 2012 WL 1511901, at *12 (N.D. Cal. Jan. 27,
           20    2012); Apple Inc. v. Samsung Elecs. Co., 2012 WL 762240, at *3 (N.D. Cal. Mar. 8, 2012). But here,
           21    for any deposition taken before the January 31, 2022 substantial-completion deadline, the Special
           22    Master’s Deposition Scheduling Protocol provides that “the fact that document production was not
           23    substantially complete before the deposition will not constitute good cause to reopen the deposition
           24    of that Witness, or seek additional deposition time with that Witness.” Dkt. 789 at 9. Given that rule,
           25    had Facebook gone forward with the named plaintiff depositions notwithstanding Plaintiffs’
           26    incomplete productions, it could have lost its opportunity to question those witnesses on any later-
           27    produced documents. And as a practical matter, even if Facebook could have obtained additional
           28    deposition time, the more efficient and courteous course was to wait until after receiving the

Gibson, Dunn &
Crutcher LLP                                                       36
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                              CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page4444ofof5555


            1    discovery; doing so minimized the chance that the named plaintiffs would have to be called back for
            2    a second day of testimony. See Procongps, Inc. v. Skypatrol, LLC, 2013 WL 11261327, at *1 (N.D.
            3    Cal. May 22, 2013) (it is “more efficient and economical to have a single round of depositions”).
            4           These basic civil litigation principles drove Facebook’s decision in mid-January to postpone
            5    the three named plaintiff depositions that had been scheduled to occur in January. Facebook served
            6    document requests and interrogatories on the named plaintiffs in August 2021 that sought, among other
            7    things, documents concerning their sharing of allegedly private information on other social media
            8    platforms and information about the third-party apps and devices used by their friends. Ex. 18 at Nos.
            9    31–34; Ex. 19 at Nos. 15–16. These discovery requests sought information relevant to central issues
           10    in the case, including the named plaintiffs’ privacy expectations, the existence of any privacy injury,
           11    and individualized issues of injury and causation—precisely the issues this Court identified in its order
           12    on Facebook’s motion to dismiss when it noted it was “possible that a few of the named plaintiffs have
           13    not adequately alleged a privacy injury” and promised that “Facebook will be given an opportunity to
           14    attempt to knock out individual named plaintiffs on standing grounds at a later stage.” Dkt. 298 at 17
           15    n.6. After Plaintiffs objected to these requests in late October, Facebook pursued them diligently over
           16    the next two months through meet-and-confers, written correspondence, and mediation proposals. Exs.
           17    28, 45–47. While that process was playing out, the parties agreed to deposition dates for the eight
           18    named plaintiffs, with two to occur in mid-to-late December and the other six in early 2022. Ex. 31 at
           19    7. In mid-December, with the dates of the first two named plaintiff depositions drawing near, Plaintiffs
           20    still had not produced documents in response to Facebook’s requests. Nonetheless, in an effort to make
           21    progress, Facebook went forward with both depositions. After taking these two depositions and
           22    reviewing the transcripts, Facebook determined they were not as fruitful and efficient as they could
           23    have been if the missing documents and interrogatory responses had been available.
           24           In early January, Plaintiffs confirmed that they were standing on their objections and would
           25    not produce documents responsive to Facebook’s requests. Ex. 28. Facebook promptly sought leave
           26    from the discovery mediators to file motions to compel, and the mediators granted leave on January
           27    13. Ex. 33. Two business days later, on January 18, Facebook notified Plaintiffs that it would
           28    postpone the three January depositions (set for January 20, 27, and 31) because Facebook

Gibson, Dunn &
Crutcher LLP                                                       37
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page4545ofof5555


            1    “continue[d] to lack basic discovery from Plaintiffs . . . regarding the bases of Plaintiffs’ claims,
            2    alleged injuries, and alleged damages” and would “be filing two motions to compel this information
            3    later this week.” Ex. 34. In light of “the Amended Deposition Protocol’s presumption against
            4    reopening depositions,” Facebook explained, Facebook had to postpone the depositions or else risk
            5    losing the opportunity to obtain testimony on key issues. Id. After filing its two motions to
            6    compel—one on Requests for Production 31–34, and the other on Interrogatories 15–16—Facebook
            7    notified Plaintiffs that it would postpone the three February and March depositions as well.
            8           In mid-February, the Special Master granted both of Facebook’s motions in full, ordering
            9    Plaintiffs “to produce full and complete responses.” Dkts. 834, 846. Two months have now gone by
           10    since those orders issued, and while all eight named plaintiffs have provided some response to the
           11    interrogatories, Plaintiffs have produced documents responsive to the Requests for Production 31–34
           12    for only one named plaintiff (40 pages total). Even so, in light of this Court’s instructions at the
           13    February CMC, Facebook has now taken six of the eight named plaintiffs’ depositions, and the last
           14    two will occur on April 15 and 28—the first available dates that Plaintiffs provided.
           15           This record makes clear that Facebook’s decision to postpone three of the named plaintiffs’
           16    depositions was routine, responsible civil discovery practice, not sanctionable misconduct. Plaintiffs
           17    attack (at 41) the “grounds Facebook’s counsel gave for deposition postponement” as “transparently
           18    pretextual,” but Facebook told Plaintiffs about its intent to file two motions to compel—both of
           19    which were successful. The record also refutes Plaintiffs’ claim (at 38) that Facebook’s “actions
           20    indicate that Facebook did not intend to take the Named Plaintiffs’ depositions—at least not any time
           21    soon.” In fact, Facebook went forward with two named plaintiff depositions—despite not having
           22    received strategically significant discovery responses from Plaintiffs—before deciding to postpone
           23    the others. A one-time postponement of depositions pending the production of important discovery
           24    materials relevant to those depositions does not meet the high bar for demonstrating sanctionable bad
           25    faith—especially not where, as here, there were legally and pragmatically proper reasons to postpone.
           26    There is a reason Plaintiffs could not cite even one case awarding sanctions based on nothing more
           27    than a defendant’s decision to postpone a deposition pending completion of document discovery.
           28

Gibson, Dunn &
Crutcher LLP                                                        38
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page4646ofof5555


            1           B.      Facebook had legitimate reasons for seeking to depose former named plaintiffs.
            2           The record belies—and Judge Corley’s order on the issue forecloses—Plaintiffs’ contention

            3    that Facebook’s motion to depose former named plaintiffs was bad-faith harassment. Facebook had a

            4    legitimate, well-considered strategic rationale for seeking to depose the former named plaintiffs. As

            5    Plaintiffs acknowledge, Judge Corley encouraged Plaintiffs in late 2020 to substantially reduce the

            6    number of named plaintiffs. Pls.’ Ex. 33. Plaintiffs did so, dropping 14 of the 23 then–named

            7    plaintiffs. Dkt. 593. It is certainly within the realm of reasonable strategic consideration to presume

            8    that part of Plaintiffs’ calculus in deciding who to keep and who to drop would be to keep the

            9    individuals they felt were the strongest class representatives. From there, it requires no great leap of

           10    logic to infer that Plaintiffs believed at least some of the 14 former named plaintiffs had flaws—on

           11    standing, the merits, class issues, or all three—that, if discovered, would make it more difficult for

           12    Plaintiffs to prevail. Tellingly, Plaintiffs chose to drop all 12 named plaintiffs with the largest DYI

           13    files—that is, those with the most extensive record of their activities on Facebook. Given that

           14    backdrop, it was well within Facebook’s strategic prerogative to decide it was worthwhile to depose

           15    those individuals and probe whatever flaws may have prompted Plaintiffs to drop them.

           16           In fact, it would have been irresponsible for Facebook not to pursue discovery from the

           17    former named plaintiffs. The predominance inquiry under Rule 23(b)(3) is a perennial strategic focal

           18    point in class litigation—and an issue on which “discovery of absent class members” is particularly

           19    appropriate. Regan Hunt Crotty, Pre-Certification Discovery of Absent Class Members, Law Journal

           20    Newsletters (Jan. 2006), available at https://tinyurl.com/yncpbje3. And recent caselaw developments

           21    have elevated to a new position of prominence the question of absent-class-member standing.

           22    TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2200 (2021). Facebook had good reason to believe

           23    depositions of the former named plaintiffs—whose DYI files indicated they were among the most

           24    prolific in willingly sharing their information online—would bear directly on both of those issues.

           25    See U.S. Dep’t of Just. v. Reps. Comm. for Freedom of the Press, 489 U.S. 749, 763 (1989) (“[T]he

           26    extent of the protection accorded a privacy right at common law rested in part on the degree of

           27    dissemination of the allegedly private fact.”) (emphasis added).

           28

Gibson, Dunn &
Crutcher LLP                                                        39
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page4747ofof5555


            1           Although Judge Corley denied Facebook’s motion to depose the former named plaintiffs, she
            2    did so “without prejudice to Facebook renewing its request after it has taken the depositions of the
            3    Named Plaintiffs.” Dkt. 805 at 1 (emphasis added). It strains credulity to suggest that Judge Corley
            4    would have granted Facebook leave to renew a request that was inappropriate or unlawful. Rather,
            5    she left open the possibility of taking these depositions in the future if “Facebook shows that such
            6    discovery is necessary.” Id. at 2. Judge Corley also noted that “the least burdensome” approach to
            7    deposing absent class members “would be to depose an absent class member who previously agreed
            8    to serve as a named plaintiff.” Id. Plaintiffs cannot deny that it is sometimes appropriate for
            9    defendants in a putative class action to depose absent members of the putative class—especially
           10    where those absent class members have “inserted [themselves] into the litigation” by, for example,
           11    being listed on initial disclosures as persons likely to have knowledge. See, e.g., A.B. v. Pac. Fertility
           12    Ctr., 2019 WL 6605883, at *1 (N.D. Cal. Dec. 3, 2019) (Corley, M.J.). All five of the former named
           13    plaintiffs Facebook sought to depose were listed in Plaintiffs’ initial disclosures as persons with
           14    knowledge. Ex. 44. Regardless whether Facebook is ultimately permitted to depose any former
           15    named plaintiffs, there is no serious argument that it had no legitimate strategic basis to do so.
           16           C.      Deposition discovery is proceeding apace.

           17           Over the last two months, the parties have made significant progress in taking and scheduling
           18    depositions. Facebook has now taken six named plaintiff depositions and will take the last two in
           19    short order. Plaintiffs have taken fourteen depositions of current or former Facebook employees, and
           20    eleven more depositions are on the calendar. Stein Decl. ¶ 13(a).
           21           Facebook is also conferring with Plaintiffs to schedule additional depositions. Id. ¶ 13(a)
           22    Plaintiffs identified the next tranche of twelve witnesses they wish to depose, including three apex
           23    witnesses, in late March. Facebook offered deposition dates for three of the witnesses three business
           24    days later and has advised Plaintiffs where they have requested depositions of former employees who
           25    Facebook does not control. Id.
           26           Facebook has also met-and-conferred extensively with Plaintiffs about a Rule 30(b)(6)
           27    deposition. As part of those efforts (which remain ongoing), Facebook has agreed to sixteen hours of
           28    Rule 30(b)(6) deposition testimony on at least nine topics and offered deposition dates that

Gibson, Dunn &
Crutcher LLP                                                        40
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page4848ofof5555


            1    accommodate Plaintiffs’ requested timetable for the deposition. Stein Decl. ¶ 13(c). Facebook’s
            2    efforts in the two months since the February CMC further underscore that it is acting reasonably and
            3    in good faith in connection with deposition scheduling.
            4

            5
                        Plaintiffs’ request for sanctions against Mr. Snyder individually (at 42–47) is particularly
            6
                 unjustified. “Given the importance of advocacy, our adversarial system encourages lawyers to act
            7
                 with zeal for a client’s cause.” Mount Hope Church v. Bash Back!, 705 F.3d 418, 426 (9th Cir.
            8
                 2012). Lawyers, unlike judges, are not neutral expositors of the law. Model Rules of Prof’l Conduct
            9
                 R. 3.3 cmt. 2 (2020). Rather, “the primary duty of an attorney [is] to represent his or her client
           10
                 zealously.” Luxul Tech. Inc. v. NectarLux, LLC, 2016 WL 3345464, at *4 (N.D. Cal. June 16, 2016)
           11
                 (quoting Operating Eng’rs Pension Trust, 859 F.2d at 1344). An “attorney’s enthusiasm and
           12
                 creativity” also “plays a key part . . . in assisting . . . a tribunal’s decision-making process.” Bash
           13
                 Back!, 705 F.3d at 426. For both of those reasons, “sanctions should not result from normal
           14
                 advocacy.” Id. But that is exactly what Plaintiffs’ motion requests.
           15
                        Plaintiffs’ request for sanctions against Mr. Snyder is more notable for what it fails to say than
           16
                 for what it says. Plaintiffs do not (and cannot) claim that Mr. Snyder made any false statement of fact
           17
                 or law, failed to disclose any controlling adverse authority, or offered any false evidence. See Model
           18
                 Rules of Prof’l Conduct R. 3.3 (2020) (detailing a lawyer’s duty of candor to the tribunal). Instead,
           19
                 their motion rests on an accusation (at 42) that through various statements over the past two years,
           20
                 Mr. Snyder tried to “create a false narrative about this case”—specifically, that Plaintiffs are
           21
                 responsible for the discovery delays in this case (rather than Facebook, as Plaintiffs contend). But
           22
                 crafting a narrative—an interpretation designed to organize and give meaning to an otherwise
           23
                 disjointed collection of facts—is the bread-and-butter work of trial lawyers. And while Plaintiffs
           24
                 may disagree with Mr. Snyder’s “narrative” about discovery, that does not make it false. Indeed, in a
           25
                 case as complex and protracted as this one, it would be surprising if there were not two sides to any
           26
                 story about which party bears the blame for discovery delays.
           27
                        None of the statements Plaintiffs pluck from hearings over the past two years is even remotely
           28
                 sanctionable, and to impose sanctions for them years later would be unprecedented and unfair.
Gibson, Dunn &
Crutcher LLP                                                         41
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                 CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page4949ofof5555


            1    Plaintiffs’ brief opens (at 1), for example, with a quote from Mr. Snyder from early March 2020
            2    explaining that Facebook was “eager to produce documents” because “those documents actually are
            3    the key to us winning the case.” It was true when Mr. Snyder said it, and remains true today, that he
            4    (like Facebook) believes the case is without merit and that the evidence adduced during discovery
            5    will prove it. Snyder Decl. ¶ 5. And despite the difficulties the parties have had throughout
            6    discovery (to say nothing of the difficulties occasioned by being forced to conduct discovery during a
            7    global pandemic), there is no basis to deem that advocacy “false.” Indeed, considering the untruths,
            8    half-truths, and outright misrepresentations sprinkled throughout Plaintiffs’ motion, it takes more
            9    than a little chutzpah to seek sanctions based on a “false narrative” theory.
           10            Plaintiffs also allege (at 42) that Mr. Snyder “lacked any basis in fact” to argue in March 2020
           11    that Plaintiffs were delaying discovery, unhappy with their claims, and trying to expand the case. Mr.
           12    Snyder believed those statements when he made them, and he continues to believe them today.
           13    Snyder Decl. ¶ 5. These statements were not inconsistent with this Court’s observation in its motion-
           14    to-dismiss ruling that Plaintiffs’ allegations had “expanded in scope” and that “at times it seems the
           15    plaintiffs sought to identify anything Facebook has ever been reported to have done wrong.” See
           16    Dkt. 298 at 5. In any event, Mr. Snyder’s statements are most naturally read not as statements of fact,
           17    but as statements of opinion about the merits of Plaintiffs’ case. Statements of opinion are not
           18    sanctionable. They simply reflect “normal advocacy,” Bash Back!, 705 F.3d at 426, and “sanctions
           19    are not to … be used to ‘chill’ creative advocacy or attorneys’ enthusiasm,” Sorensen v. Nat’l R.R.
           20    Passenger Corp., 2017 WL 6520629, *3–4 (C.D. Cal. Nov. 30, 2017).23
           21            Plaintiffs fare no better with their claim (at 43, 47) that statements made during a January 19,
           22    2022 hearing are “independently sanctionable” because they reflect a “two-step litigation strategy” of
           23    “delay[ing] discovery on the ground that it is too early” and then “evad[ing] it on the ground that it is
           24    too late.” Facebook took neither “step” of this supposed two-step strategy.
           25
                 23
           26         The other statements Plaintiffs criticize are cut from the same cloth. Mot. at 43 (characterizing
                      Plaintiffs’ approach to discovery as “unfocused” and “scattershot”); id. at 44 (arguing in motion
           27         papers that two of Plaintiffs’ discovery motions lacked merit); id. at 44–45 (advocating for court-
                      imposed limits on the discovery process); id. at 45 (opining that Plaintiffs were raising too many
           28         discovery issues at once); id. at 46 (interpreting requests for production that had been served five
                      months earlier—in a case that by then was 43 months old—as having “just” been served).
Gibson, Dunn &
Crutcher LLP                                                        42
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                  CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page5050ofof5555


            1            Facebook did not seek to “delay” any of the discovery at issue because it was too early.
            2    Rather, when the parties first began working with the discovery mediators, Facebook argued that
            3    Plaintiffs should be required to meet-and-confer with Facebook and attempt to resolve any disputes
            4    through mediation before bringing a discovery motion. Ex. 16. The Special Master agreed: He
            5    ordered that neither party could file a discovery motion without first obtaining a declaration of
            6    impasse from the discovery mediators. Dkt. 733 ¶ 2. Similarly, after Facebook raised a concern that
            7    Plaintiffs were seeking to raise an unwieldy number of issues in discovery mediation, the mediators
            8    advised the parties to raise no more than three issues per mediation session. Exs. 14-15, 17. That
            9    limitation worked: It allowed the parties to focus their efforts on a manageable number of disputes,
           10    resolve many disputes without motions practice, and narrow the scope of most of the disputes that
           11    were litigated.
           12            Nor did Facebook seek to “evade” discovery because it was too late. To support their claim
           13    that Facebook did so, Plaintiffs cite their own statement in a joint status update (at 45, citing Dkt. 797
           14    at 4)—not anything Mr. Snyder said. And at the January 19 hearing, Mr. Snyder’s comments focused
           15    on the overbreadth of the Special Master’s order requiring production of “all documents” related to
           16    ADI. Pls.’ Ex. 3 at 14:9–15. Here again, the Special Master agreed: as detailed above, he later issued
           17    an amended order narrowing the scope of the production to “existing custodians.” Id. at 15:4; supra at
           18    p. 28. As for Mr. Snyder’s plea that the Special Master should impose proportionality-based limits on
           19    Plaintiffs’ discovery demands, he was “guilty of nothing more sinister than the zealous discharge of
           20    [his] duty to represent [his] clients with vigor.” United States v. Figueroa-Arenas, 292 F.3d 276, 281–
           21    82 (1st Cir. 2002) (vacating an order imposing sanctions); United States v. Corinthian Colls., 652 F.
           22    App’x 503, 505–06 (9th Cir. 2016) (reversing sanctions where the record did not support a finding of
           23    vexatious conduct, frivolous arguments, or acting in bad faith); Glasser v. Blixseth, 649 F. App’x 506,
           24    507 (9th Cir. 2016) (similar). It speaks volumes that Plaintiffs could not identify even one case where
           25    a court has awarded sanctions on the “false narrative” theory Plaintiffs press here.24
           26

           27    24
                      The lone case Plaintiffs cite is inapposite: it affirmed sanctions against an attorney who
           28         propounded discovery requests that were either facially frivolous or duplicative of earlier requests
                      that had been denied. Dahl v. City of Huntington Beach, 84 F.3d 363, 367 (9th Cir. 1996).
Gibson, Dunn &
Crutcher LLP                                                        43
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page5151ofof5555


            1            At bottom, while Plaintiffs contend (at 3) that “a number of Gibson Dunn attorneys played roles
            2    in the misconduct,” they apparently zero in on Mr. Snyder simply because he is “Facebook’s lead
            3    lawyer.” But that arbitrary targeting-the-top approach is baseless and unfair; there is no imputed
            4    liability or respondeat superior theory for sanctions. Rather, sanctions must be “based solely on [an
            5    attorney’s] own improper conduct without considering the conduct of the parties or any other attorney.”
            6    Primus, 115 F.3d at 650. And here, it would be “a great injustice for a court to publicly punish an
            7    attorney who has done nothing wrong and is merely representing his client’s interests,” as “sanctions
            8    act as a symbolic statement about the quality and integrity of an attorney’s work—a statement which
            9    may have a tangible effect upon the attorney’s career.” See Otis v. Demarasse, 399 F. Supp. 3d 759,
           10    766–67 (E.D. Wis. 2019) (citation omitted). Plaintiffs’ request for sanctions against Mr. Snyder
           11    individually runs roughshod over these principles, and there is no basis for such a punitive action.
           12

           13            This record cannot support an award of sanctions. But even if it could, Plaintiffs have failed

           14    to meet their burden to show that the sanction they request is warranted. The only sanction Plaintiffs

           15    seek is a monetary sanction—specifically, an award of attorneys’ fees and costs. Plaintiffs’ motion

           16    does not seek any form of non-monetary sanction.25

           17            When evaluating requests for attorneys’ fees, “district courts have a duty to ensure that claims

           18    for attorneys’ fees are reasonable, and a district court does not discharge that duty simply by taking at

           19    face value the word of the prevailing party’s lawyer for the number of hours expended on the case.”

           20    Vogel v. Harbor Plaza Ctr., LLC, 893 F.3d 1152, 1160 (9th Cir. 2018) (cleaned up). Rather, the

           21    party seeking fees bears the burden of proving the reasonableness of both its hours and its rates. Bird

           22    v. Wells Fargo Bank, 2017 WL 4123715, at *1 (E.D. Cal. Sept. 18, 2017) (citing Van Gerwen v.

           23    Guarantee Mut. Life Co., 214 F.3d 1041, 1045 (9th Cir. 2000)).

           24
                 25
           25         Nor could there be any argument that a non-monetary sanction, such as evidentiary sanctions or
                      terminating sanctions, would be warranted here. Evidentiary sanctions are unwarranted where a
           26         “less severe” remedy—such as extending the case schedule—is adequate to avoid any potential
                      prejudice. Rooney v. Sierra Pac. Windows, 2011 WL 2149097, at *4 (N.D. Cal. June 1, 2011).
           27         Terminating sanctions are unwarranted in all but the rarest and most egregious cases in which
                      bad-faith, willful misconduct has occurred that “threaten[s] to interfere with the rightful decision
           28         of the case” on the merits and cannot be addressed with a “less severe alternative[] than outright
                      dismissal.” Leon v. IDX Sys. Corp., 464 F.3d 951, 958, 959 (9th Cir. 2006) (quotations omitted).
Gibson, Dunn &
Crutcher LLP                                                         44
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page5252ofof5555


            1           Plaintiffs’ fee request here is untethered from any record that could possibly support a fee
            2    award. It covers periods of time in which the Plaintiffs said the process was working well. Supra at
            3    12. Plaintiffs also seek to recover for motions for reconsideration of the ADI and named plaintiff
            4    data rulings that Judge Corley said were made in good faith, supra p. 4, and incredibly, Plaintiffs seek
            5    fees for work on motions that Facebook won (as well as motions that Facebook won in substantial
            6    part), supra at p. 14. Contra Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1189 (2017)
            7    (a “sanctioning court must determine which fees were incurred because of, and solely because of, the
            8    misconduct at issue”). Facebook prevailed on numerous issues relating to both ADI and named
            9    plaintiff data. Supra, Pts. IV.A, V.E. Plaintiffs offer no explanation whatsoever for their broad-brush
           10    requests and make no discernible attempt to segregate hours spent on winning versus losing issues.
           11           The evidence Plaintiffs submitted is also woefully insufficient to establish the reasonableness
           12    of their hours or allow disaggregation of tasks spent on motions and issues where Facebook
           13    prevailed: They submitted no time records or billing statements, and simply recite that each attorney
           14    performed a list of tasks associated with each of the three issues on which Plaintiffs seek fees. See
           15    Pls.’ Decl. ¶¶ 18–37, 40–51, 54–63. The generic descriptions of the tasks each lawyer performed are
           16    identical or nearly identical in their wording, and the hours attributed to each attorney are listed as a
           17    block rather than broken down by task. See id. That is a far cry from the detailed information this
           18    Court would need to ensure that a fee award “exclude[s] hours that are ‘excessive, redundant, or
           19    otherwise unnecessary,” including hours spent on motions where Facebook prevailed. Dong Ah Tire
           20    & Rubber Co. v. Glasforms, Inc., 2009 WL 3617786, at *1, 3 (N.D. Cal. Oct. 29, 2009) (quoting
           21    Hensley v. Eckhart, 461 U.S. 424, 433–34 (1983)); see also, e.g., I.E.I. Co. v. Advance Cultural
           22    Educ., 2011 WL 1335407, at *3–4 (N.D. Cal. Apr. 7, 2011) (the “party requesting fees must provide
           23    detailed time records documenting the task completed and the time spent”). Without detailed time
           24    records—or a declaration from counsel detailing the nature of the tasks performed, the need for them,
           25    and the amount of time incurred on each task—“the Court has no basis to judge whether the amount
           26    sought constitutes ‘reasonable expenses.’” Choudhuri v. Wells Fargo Bank, N.A., 2017 WL
           27    5598685, at *10 (N.D. Cal. Nov. 21, 2017) (denying motion for sanctions).
           28

Gibson, Dunn &
Crutcher LLP                                                        45
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                                CASE NO. 3:18-MD-02843-VC
                      Case
                       Case3:18-md-02843-VC
                             3:18-md-02843-VC Document
                                               Document1052-1
                                                        911 Filed
                                                              Filed04/11/22
                                                                    09/15/22 Page
                                                                              Page5353ofof5555


            1

            2
                         Gibson Dunn is the true target of Plaintiffs’ motion. The issues Plaintiffs have raised all
            3
                 relate to decisions Gibson Dunn has made, and actions Gibson Dunn has taken, in discovery. The
            4
                 motion does not accuse Facebook of any independent misconduct, and in fact, Facebook has gone to
            5
                 extraordinary lengths in discovery. And sanctions against Mr. Snyder individually are unwarranted
            6
                 for the reasons explained above. Supra Part VI. Gibson Dunn is counsel of record in this case and
            7
                 stands behind the conduct of its lawyers.
            8
                         Gibson Dunn takes full responsibility for the conduct of discovery in this case. Where, as
            9
                 here, responsibility “rests with the attorneys,” “the appropriate remedy is” to issue any sanction
           10
                 against “the party’s counsel,” not the party itself. Orgler Homes, Inc. v. Chi. Reg’l Council of
           11
                 Carpenters, 2008 WL 5082979, at *3 (N.D. Ill. Nov. 24, 2008).26 Likewise, “in the absence of any
           12
                 indication that” any individual attorney was “personally responsible for” the conduct at issue, any
           13
                 sanctions would be appropriately “levied against Defendants’ law firm.” Sweet People Apparel, Inc.
           14
                 v. Saza Jeans, Inc., 2016 WL 6053958, at *2 (C.D. Cal. May 25, 2016). If this Court were to
           15
                 conclude that sanctions were warranted, any sanction should be issued only against Gibson Dunn.
           16
                         That said, Gibson Dunn has sought to bring before the Court the full and fair record of what
           17
                 has actually happened in discovery over the past two years, not the incomplete and misleading record
           18
                 Plaintiffs submitted to the Court. Gibson Dunn is hopeful and confident that this record will
           19
                 demonstrate to the Court’s satisfaction that Gibson Dunn has advanced good-faith positions in
           20
                 motions practice that were often successful, utilized the processes the parties agreed to and this Court
           21
                 ordered, and complied with every order Judge Corley and Special Master Garrie have issued. In
           22
                 short, while the record certainly confirms that discovery in this case has been long, complex, and
           23
                 hard-fought, it also confirms that Gibson Dunn has met its discovery obligations while serving as an
           24
                 effective and zealous advocate for Facebook.
           25
                         That is not to say that the record cannot be improved. The Court’s comments at the CMC in
           26
                 February, and again in March, made it clear that, thus far, Gibson Dunn’s conduct in discovery had not
           27
                 26
           28         As the Court knows, 28 U.S.C. § 1927 “authorizes sanctions only upon counsel.” Sneller v. City
                      of Bainbridge Island, 606 F.3d 636, 640 (9th Cir. 2010).
Gibson, Dunn &
Crutcher LLP                                                        46
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                               CASE NO. 3:18-MD-02843-VC
                    Case
                     Case3:18-md-02843-VC
                           3:18-md-02843-VC Document
                                             Document1052-1
                                                      911 Filed
                                                            Filed04/11/22
                                                                  09/15/22 Page
                                                                            Page5454ofof5555


            1    met the Court’s expectations. The firm was mortified to learn that. As lawyers and advocates, Gibson
            2    Dunn’s highest priority in our work is satisfying our obligations as officers of the Court. Mr. Snyder
            3    has been practicing law for more than 35 years and has never been sanctioned. Snyder Decl. ¶ 2.
            4    Collectively, the Gibson Dunn lawyers who have appeared in this matter have been practicing law for
            5    more than 150 years. Stein Decl. ¶ 9. None of them has ever been sanctioned. In this case, as in every
            6    case, Gibson Dunn strives not just to meet its obligations, but to exceed them. And the firm has heard
            7    the Court loud and clear that the Court expects nothing less.
            8           Gibson Dunn submits that this is not the kind of rare and exceptional case in which discovery
            9    sanctions are warranted. If for any reason the Court is not yet fully convinced on that front, Gibson
           10    Dunn would ask the Court to limit any contemplated award to Gibson Dunn alone, and not to
           11    Facebook or Mr. Snyder individually, and to hold its ruling on Plaintiffs’ motion in abeyance pending
           12    completion of discovery. Cf. Digital Empire Ltd. v. Compal Elecs. Inc., 2015 WL 11570938, at *7
           13    (S.D. Cal. Sept. 4, 2015) (denying Rule 37 sanctions where, “[t]hough the plaintiff may have delayed
           14    in the production of discovery in the past, it now appears to be making efforts to produce all relevant
           15    documents in accord with this Court’s Orders”). Although Gibson Dunn may not have acted
           16    perfectly, and cannot promise perfection, if given the chance, Gibson Dunn would welcome the
           17    opportunity to demonstrate to the Court’s satisfaction that any concerns the Court might have had are
           18    being addressed, discovery is proceeding as it should, and Gibson Dunn (and Facebook) will continue
           19    to satisfy every obligation, comply with every order, and move discovery toward completion.
           20                                               CONCLUSION
           21           Plaintiffs’ motion for sanctions should be denied. In the alternative, the Court should hold the
           22    motion in abeyance pending the completion of discovery.
           23

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Gibson, Dunn &
Crutcher LLP                                                       47
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                              CASE NO. 3:18-MD-02843-VC
                   Case
                    Case3:18-md-02843-VC
                          3:18-md-02843-VC Document
                                            Document1052-1
                                                     911 Filed
                                                           Filed04/11/22
                                                                 09/15/22 Page
                                                                           Page5555ofof5555


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Gibson, Dunn &
Crutcher LLP                                               48
                 OPPOSITION TO PLAINTIFFS’ MOTION FOR SANCTIONS                    CASE NO. 3:18-MD-02843-VC
